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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

THE UNITED STATES OF AMERICA,

               Plaintiff,                                C.A. NO.:

       v.                                                JURY TRIAL DEMANDED

GILEAD SCIENCES, INC.
AND GILEAD SCIENCES IRELAND
UC,

               Defendants.

                                         COMPLAINT

       1.      The human immunodeficiency virus (HIV) is the cause of the acquired

immunodeficiency syndrome (AIDS) epidemic. Since the beginning of the AIDS epidemic in the

early 1980s, researchers worldwide have sought vaccines or other biomedical strategies to

effectively prevent the spread of HIV. For over two decades, none succeeded. During that time,

over 25 million people died due to AIDS. And the number of people living with HIV reached its

highest level—about 40.3 million people.

       2.      Then in the mid-2000s, researchers at the Centers for Disease Control and

Prevention (CDC) succeeded where others had not. Using new and precise animal modeling

methods, these scientists conceived of and developed innovative two-drug regimens that could, for

the first time, effectively prevent new HIV infections. These regimens consist of (1) emtricitabine

(FTC) and (2) tenofovir or a tenofovir prodrug. This type of regimen is known as pre-exposure

prophylaxis or PrEP.

       3.      CDC’s unexpectedly effective regimens were even more remarkable because they

came about at a time when many in the scientific community questioned whether any PrEP
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regimen could safely and effectively prevent the spread of HIV. Even after CDC publicly shared

its results, skepticism remained.

       4.        As a result of CDC’s breakthrough, two human PrEP trials already underway

changed their drug regimens to match CDC’s new PrEP regimens. These studies, and others,

confirmed that, when used as directed, CDC’s PrEP regimens are 99 percent effective in

preventing new HIV infections. Hundreds of millions of taxpayer dollars funded much of that

clinical work.

       5.        The United States Patent and Trademark Office (PTO) granted CDC four patents

that protect its innovative regimens and the taxpayers’ investment. These patents entitle CDC to

license its PrEP regimens and receive a reasonable royalty for their use.

       6.        Gilead Sciences, Inc., and Gilead Sciences Ireland UC manufacture, market, and

sell Truvada® and Descovy®. Each of these products includes a combination of (1) FTC and (2) a

tenofovir prodrug. When administered as a PrEP regimen, both are effective two-drug regimens

claimed and protected by CDC’s patents. Originally, Gilead had obtained FDA approvals for those

products to be used for treating HIV in combination with other drugs.           But after CDC’s

groundbreaking PrEP work and subsequent human trials, Gilead also obtained FDA approvals for

Truvada®, and more recently Descovy®, to be used as PrEP regimens.

       7.        Gilead now markets and sells Truvada® and Descovy® as PrEP regimens that are

protected by CDC’s patents. And PrEP sales are one of the primary drivers for the growth of

Gilead’s HIV products.

       8.        As its PrEP sales have skyrocketed, Gilead has exaggerated its role in developing

PrEP. In so doing, Gilead has ignored CDC’s clear contributions and baselessly denied the validity




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of CDC’s patents. Gilead’s only contribution to CDC’s patented research was providing samples

of the drugs that CDC used for testing purposes.

         9.    Gilead has repeatedly refused to obtain a license from CDC to use the patented

regimens. Meanwhile, Gilead has profited from research funded by hundreds of millions of

taxpayer dollars. Indeed, Gilead has reaped billions from PrEP through the sale of Truvada® and

Descovy®, but has not paid any royalties to CDC. Accordingly, Gilead has willfully and

deliberately induced infringement of CDC’s patents and continues to do so. These actions by

Gilead give rise to the present suit.

I.       NATURE OF THE ACTION

         10.   The United States of America brings this civil action for patent infringement under

35 U.S.C. § 271 et seq. against Gilead Sciences, Inc. and Gilead Sciences Ireland UC (collectively,

Gilead) for infringement of U.S. Patent Nos. 9,044,509 (the ’509 Patent), 9,579,333 (the

’333 Patent), 9,937,191 (the ’191 Patent) and 10,335,423 (the ’423 Patent) (collectively, the

Patents-in-Suit) (Exhibits 1–4, respectively).

II.      PARTIES

         11.   Plaintiff is the government of the United States of America (United States or

Government) acting on behalf of its Department of Health and Human Services (HHS),

headquartered at 200 Independence Avenue, S.W., Washington, D.C. 20201.

         12.   HHS is the owner of the Patents-in-Suit as set forth herein, by virtue of its

administrative control of CDC, which is headquartered at 1600 Clifton Road NE, Atlanta, Georgia

30329.

         13.   Defendant Gilead Sciences, Inc. is a Delaware corporation, with a principal place

of business at 333 Lakeside Drive, Foster City, California 94404.



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       14.     Defendant Gilead Sciences Ireland UC (formerly known as Gilead Sciences

Limited) is an unlimited liability company formed under the laws of Ireland, with a principal place

of business at IDA Business & Technology Park, Carrigtohill, County Cork, Ireland. Gilead

Sciences Ireland UC is a wholly owned subsidiary of Gilead Sciences, Inc. On information and

belief, Gilead Sciences Ireland UC manufactures, packages, and labels Truvada® and Descovy®

products that are marketed, distributed, and sold for PrEP in the United States.

       15.     On information and belief, Gilead Sciences, Inc., and Gilead Sciences Ireland UC

(collectively, Gilead) work in concert to manufacture, import, market, distribute, label, and sell

Truvada® and Descovy® for PrEP in this judicial District and throughout the United States.

III.   JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action, pursuant to 28 U.S.C.

§§ 1331 and 1338(a).

       17.     This Court has personal jurisdiction over Gilead Sciences, Inc., because it is a

Delaware corporation and has purposefully availed itself of the rights and benefits of Delaware

law. In particular, it recently commenced litigations in this District asserting patents relating to

Truvada® and methods of using it to treat HIV-positive children. See, e.g., Gilead Sciences, Inc.

et al. v. Aurobindo Pharma Ltd. et al., No. 1-18-cv-00765, filed May 18, 2018 (asserting patents

relating to the active ingredients in Truvada® and methods for treating HIV infection in children

with the active ingredients in Truvada®); Gilead Sciences, Inc. et al. v. Amneal Pharms. LLC,

No. 1-17-cv-00943, filed Jul. 13, 2017 (same). Furthermore, on information and belief, Gilead

Sciences, Inc. has engaged in substantial and continuing contacts with Delaware, including

directing sales of or offers for sale of Truvada for PrEP® and Descovy® for PrEP in this District.

       18.     This Court has personal jurisdiction over Gilead Sciences Ireland UC.            On

information and belief, at the direction of Gilead Sciences, Inc., Gilead Sciences Ireland UC has
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engaged in substantial and continuing contacts with Delaware. In particular, Gilead Sciences

Ireland UC has manufactured Truvada for PrEP® and Descovy® for PrEP, products that are labeled,

marketed, distributed, and sold to residents of Delaware. Furthermore, this Court also has personal

jurisdiction over Gilead Sciences Ireland UC because it has purposefully availed itself of the rights

and benefits of Delaware law as a plaintiff in other patent cases in this District. See, e.g., Janssen

Pharmaceutica, N.V. et al. v. Mylan Pharms., Inc., No. 1-15-cv-00760, filed Aug. 31, 2015; Gilead

Sciences, Inc. et al. v. AbbVie, Inc., No. 1-15-cv-00399, filed May 19, 2015.

       19.     On information and belief, Gilead Sciences, Inc. and Gilead Sciences Ireland UC

work in concert to regularly and continuously transact business within the State of Delaware, by

selling pharmaceutical products in Delaware, including Truvada® and Descovy®, either on their

own or through their affiliates.

       20.     On information and belief, Gilead derives substantial revenue from selling Truvada

for PrEP® and Descovy® for PrEP throughout the United States, including in Delaware.

       21.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) because

Gilead Sciences, Inc. resides in this District. And pursuant to 35 U.S.C. § 1391(c)(3), venue is

proper in this District for Gilead Sciences Ireland UC.

IV.    TECHNICAL AND HISTORICAL BACKGROUND

       A.      The Human Immunodeficiency Virus

       22.     HIV is the virus responsible for the disease known as acquired immunodeficiency

syndrome or AIDS.

       23.     HIV is a retrovirus, a type of virus that contains ribonucleic acid (RNA) as its

genetic material. Retroviruses have an enzyme—reverse transcriptase—which allows the virus to

transcribe its RNA into deoxyribonucleic acid (DNA) after entering a cell. To replicate, a

retrovirus like HIV inserts a DNA copy of its genome into a host cell.

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       24.     There, the DNA copy of the viral genome (proviral DNA) can serve as a template

for the production of HIV in the host cell. In this manner, HIV targets, infects, and ultimately

destroys cells associated with the human immune system, most notably a type of white blood cell

called CD4+ (or helper) T cells.

       25.     The loss of CD4+ T cells due to an HIV infection, if untreated, ultimately leads to

AIDS. Specifically, as the infection progresses, HIV begins to infect the CD4+ T cells more

efficiently. Although the body tries to make new T cells, the immune system is ultimately

overwhelmed, leading to an extreme lowering of the CD4+ T cell levels, and in turn, an

immunodeficiency. Additionally, the high levels of HIV replication lead to a state of global

immune activation that adds further to the inability of the immune system to function effectively.

       26.     The extremely low levels of CD4+ T cells during AIDS makes a person vulnerable

to a number of opportunistic infections and cancers that would generally not occur in persons with

normally functioning immune responses.          These opportunistic infections and cancers are

frequently the direct cause of the death of a person with AIDS.

       27.     There are two major types of HIV: HIV-1 and HIV-2. Though both viruses can

affect the human body similarly, weakening a person’s immune system and leaving them more

vulnerable to other infections and disease, they are genetically distinct and the course of disease

and the recommended antiretroviral treatments may be different. Most HIV research is focused

on HIV-1, as it is the type predominantly seen worldwide, and is the leading cause of HIV-

associated morbidity and mortality.

       28.     Even with early intervention and effective treatment, many people living with HIV

endure a persistent activation of the immune system, raising their risk for a number of diseases,

including heart attack, vascular disease, and stroke.



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       29.     Left untreated, almost all people living with HIV develop AIDS and eventually die

of opportunistic infections and cancers.

       B.      The HIV/AIDS Epidemic

       30.     According to The Joint United Nations Programme on HIV and AIDS (UNAIDS),

through 2018, 74.9 million people worldwide have been infected with HIV. Since the start of the

epidemic in the early 1980s, 32 million people have died from AIDS-related illnesses, with

770,000 people dying in 2018 alone. Of the more than 37 million people currently living with

HIV, UNAIDS reports that approximately 23 million people are receiving antiretroviral therapy

(ART) to treat HIV.

       31.     Improved access to ART regimens that durably suppress the virus prevents the

development of AIDS in persons living with HIV and decreases the likelihood of transmission of

HIV to other people. Rates of HIV infection and new AIDS cases have decreased significantly

because of this better treatment of HIV-positive persons as well as improved prevention efforts.

       32.     Since 2000, according to UNAIDS and World Health Organization (WHO) global

estimates, annual diagnoses of new HIV infections have fallen by 37 percent, and deaths from

AIDS-related illnesses have fallen by 45 percent. Even so, approximately 1.7 million people

globally were infected with HIV in 2018.

       33.     In the United States, CDC reports that since the beginning of the epidemic over

675,000 people have died from AIDS-related illnesses. And roughly 38,000 Americans are newly

infected with HIV each year. Of the more than 1.1 million people living with HIV in the United

States, approximately 14 percent (1 in 7) are unaware that they are infected.

       34.     Efforts to end the epidemic, in the United States and worldwide, continue today.




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        C.      Treatment of HIV Infections

        35.     Current HIV treatments are highly effective, but not curative. Available treatments

help people with HIV live longer, healthier lives, but do not eliminate the virus from the human

body or prevent reemergence of the virus when treatment is discontinued.

        36.     An HIV infection has been historically difficult to treat, in part, because of the

virus’ ability to mutate in response to antiretroviral drugs and drug regimens. This generally leads

to drug-resistant strains of HIV.

        37.     Since approval of the first anti-HIV (antiretroviral) drugs in the 1980s, treatment

strategies have evolved to use a combination of drugs (from different classes of drugs) to durably

suppress HIV replication below levels in the blood that can be detected by currently licensed

assays. Today, ART involves administration of a combination of multiple drugs or “combination

therapy.” HIV-positive patients taking ART are administered a daily combination of antiretroviral

medicines, and these regimens generally include three antiretroviral medicines from at least two

different drug classes. In this manner, ART acts against HIV replication to consistently keep a

patient’s viral load (a measure of the amount of virus in the bloodstream) below detectable levels.

        38.     There are several classes of antiretroviral drugs used to treat HIV infections

effectively, including (i) nucleoside reverse transcriptase inhibitors (NRTIs) and nucleotide

reverse transcriptase inhibitors (NtRTIs), (ii) nonnucleoside reverse transcriptase inhibitors

(NNRTIs), (iii) protease inhibitors (PIs), (iv) integrase inhibitors, and (v) entry or fusion inhibitors.

        39.     NRTIs and NtRTIs function as analogs of the naturally occurring deoxynucleosides

and deoxynucleotides needed to synthesize the viral DNA. Thus, they can disrupt the reverse

transcription process needed to generate the HIV DNA, thereby preventing integration of the

proviral DNA into the genome of human cells.



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       40.     Treatment with NRTIs and NtRTIs over extended periods of time can result in

toxicity. Drug-related toxicity may include a variety of outcomes, including anemia, loss of kidney

function, and decreased bone density. And the toxicity may vary by regimen.

       41.     While new NRTIs and NtRTIs are increasingly less toxic, toxicity concerns existed

during the development of the Patents-in-Suit and remain today. These concerns are heightened

when two drugs of these types are co-administered to healthy persons on a daily basis.

       42.     Presently, a typical ART regimen consists of a “backbone” of two NRTI/NtRTIs in

combination with either an integrase inhibitor, an NNRTI, or a PI.

       43.     By 2005, the relevant HHS HIV-treatment guidelines included seven different

NRTI/NtRTIs (abacavir, didanosine, emtricitabine, lamivudine, stavudine, tenofovir, and

zidovudine), one NNRTI (efavirenz), six PIs (atazanavir, fosamprenavir, indinavir, nelfinavir,

ritonavir, and saquinavir), and one fusion inhibitor (enfuvirtide), as well as five fixed-dose

combination tablets of certain drugs listed above, for use as part of an ART regimen with

previously untreated (treatment naïve) patients.1

       44.     The current HHS guidelines’ Recommended Antiretroviral Regimens for Initial

Therapy set forth five different NRTI/NtRTIs (abacavir (ABC), emtricitabine (FTC), lamivudine

(3TC), tenofovir disoproxil fumarate (TDF), and tenofovir alafenamide (TAF)), three NNRTIs

(doravirine (DOR), efavirenz (EFV), and rilpivirine (RPV)), four integrase inhibitors (bictegravir




1
 See Panel on Clinical Practices for Treatment of HIV Infection Convened by the Department of
Health and Human Services, Guidelines for the Use of Antiretroviral Agents in HIV-1-Infected
Adults and Adolescents, 8–15 (Apr. 7, 2005),
https://aidsinfo.nih.gov/ContentFiles/AdultandAdolescentGL04072005001.pdf
[https://perma.cc/JVB6-XL3Q] (Exhibit 5).


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(BIC), dolutegravir (DTG), elvitegravir (EVG), and raltegravir (RAL)), and two ritonavir (RTV)

or cobicstat-boosted PIs (ataznavir (ATV) and darunavir (DRV)).2

          45.   While ART regimens can reduce the presence of HIV in the patient’s bloodstream

to extremely low levels, it does not eliminate HIV from the patient, and, thus, cannot cure an HIV

infection.

          46.   An ART treatment regimen must be continuous and is lifelong. If adherence to an

ART regimen is poor, the patient will see the viral load of HIV rise and can transmit HIV to others.

          D.    Truvada®

          47.   Truvada® is the trade name for a medication developed by Gilead for the treatment

of HIV infections when used in combination with other antiretroviral drugs.

          48.   Truvada® is a fixed-dose combination of two well-known antiretroviral drugs: TDF

and FTC. Approved for sale by the Food and Drug Administration (FDA) in 2004 for the treatment

of HIV, Truvada® tablets are typically sold in an adult dosage of 300 mg TDF and 200 mg FTC.

          49.   TDF is a tenofovir prodrug, which means that it is not pharmacologically active

when it is in the tablet form, but is chemically converted by metabolic processes in the body into

tenofovir, the active pharmacological drug. Tenofovir is an NtRTI that was first discovered in the

1980s.3




2
  See HHS Panel on Antiretroviral Guidelines for Adults and Adolescents, Guidelines for the Use
of Antiretroviral Agents in Adults and Adolescents with HIV 62–63,
https://aidsinfo.nih.gov/contentfiles/lvguidelines/adultandadolescentgl.pdf
[https://perma.cc/6UBG-TQDC] (last updated/reviewed July 10, 2019) (Exhibit 6).
3
   See, e.g., U.S. Patent No. 4,808,716, https://patents.google.com/patent/US4808716A/en
[https://perma.cc/SR9T-7ANJ] (Exhibit 7).


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        50.    In the body, TDF is metabolized into tenofovir. It is then chemically altered

(phosphorylated) inside human cells to tenofovir diphosphate, the compound that inhibits HIV

reverse transcriptase.

        51.    Discovered in the mid-1990s, FTC is an NRTI that has long been used in ART

regimens.4

        52.    When used for treatment of HIV-1, Truvada® is administered in combination with

other antiretroviral agents in order to durably suppress HIV replication. Under current guidelines,

a typical recommended ART regimen calling for administration of a daily Truvada® tablet would

also include co-administration of an integrase inhibitor (for example, DTG or RAL). The FTC

and TDF components of Truvada® are also sold as components of larger three- and four-drug

Gilead products, including Atripla® (FTC/TDF/EFV), Complera® (FTC/TDF/RPV), and Stribild®

(FTC/TDF/EVG/cobicistat). These products amount to once-daily ART regimens, where all the

drugs are co-formulated into a single pill.

        53.    Gilead received FDA approval to sell Truvada®, in the same dosage form and

strength approved for HIV-infection treatment, as a PrEP regimen in 2012.

        E.     Descovy®

        54.    Gilead also manufactures, distributes, and sells the antiretroviral drug Descovy®

that, like Truvada®, includes both FTC and a tenofovir prodrug.

        55.    Unlike TDF in Truvada®, the tenofovir prodrug in Descovy® is tenofovir

alafenamide fumarate (TAF). Like TDF in Truvada®, TAF is an ester of tenofovir that is

metabolized into tenofovir in the body.




4
  See U.S. Patent No. 5,814,639, https://patents.google.com/patent/US5814639A/en
[https://perma.cc/B4YK-T4GY] (Exhibit 8).
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        56.    The FDA approved Descovy® in April 2016 for the treatment of HIV-1 infections

when administered in combination with other antiretroviral drugs. Descovy® tablets are sold in a

dosage of 200 mg FTC and 25 mg TAF.

        57.    On October 3, 2019, Gilead received FDA approval to sell Descovy®, in the same

dosage form and strength approved for HIV-infection treatment, as a PrEP regimen, “excluding

those who have receptive vaginal sex.”5

        F.     Efforts to Develop Regimens to Prevent HIV Transmission

        58.    Although patients whose HIV is fully suppressed by ART receive a clinical benefit,

there is also a public health benefit through the reduction of risk of transmission to HIV-negative

persons. Poor adherence to the ART regimen, however, reduces these benefits. And persons not

receiving ART or who are unaware of their HIV-positive status can still spread the virus. Thus,

treatment of HIV as a way to prevent transmission is an incomplete solution.

        59.    Based on the limitations of ART, researchers generally pursue three separate and

distinct biomedical strategies to protect HIV-negative persons from infection: (1) vaccines, (2)

post-exposure prophylaxis, and (3) pre-exposure prophylaxis.

        G.     Decades of Unsuccessful Attempts to Create an HIV Vaccine

        60.    Since the discovery of HIV in the early 1980s, many researchers have sought a

vaccine to prevent the spread of HIV and extensive research efforts are still devoted to vaccine

development.




5
 U.S. Food & Drug Admin., FDA Approves Second Drug to Prevent HIV Infection as Part of
Ongoing Efforts to End the HIV Epidemic, FDA Newsroom: Press Announcements (Oct. 3,
2019) [hereinafter FDA Approves Second Drug to Prevent HIV], https://www.fda.gov/news-
events/press-announcements/fda-approves-second-drug-prevent-hiv-infection-part-ongoing-
efforts-end-hiv-epidemic [https://perma.cc/N3JP-M4NK] (Exhibit 9).


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          61.   More money has been spent on the development of an HIV vaccine than any other

vaccine in history. The WHO reports that “[t]he global investment on HIV vaccine research,

including industry and research agencies in industrialized countries[,] has been estimated at

approximately US$ 500 million per year.”6

          62.   Today, the bulk of HIV-prevention funding is still directed to vaccines. In 2018,

for example, AVAC, formerly the AIDS Vaccine Advocacy Coalition, reported that $1.14 billion

was spent on HIV prevention research and development. Of that amount, 74 percent ($842

million) went to HIV vaccines, 12.3 percent ($140 million) to microbicides, and only 9.6 percent

($109 million) to PrEP efforts.7

          63.   While extensive research into an effective HIV vaccine continues, none presently

exists.

          H.    Post-Exposure Prophylaxis (PEP) Regimens Based on Empirical Data

          64.   Another type of prevention regimen is known as post-exposure prophylaxis (PEP).

PEP involves taking antiretroviral drugs shortly after a potential exposure that presents a

substantial risk for HIV infection. Consistent with earlier guidance, present guidelines recommend

administering drugs within 48-72 hours after exposure and remaining on the regimen for 28 days.8



6
  World Health Organization, HIV Vaccines,
https://www.who.int/hiv/topics/vaccines/Vaccines/en/ [https://perma.cc/4HMM-X27Z] (Exhibit
10).
7
  AVAC Resource Tracking for HIV Prevention Research & Development Working Group, 2018
HIV Prevention Research & Development Investments, 6, 19, 24, 28 (July 2019),
https://www.avac.org/resource/hiv-prevention-research-development-investments-2018-
investing-end-epidemic [https://perma.cc/AQV5-BGL3] (Exhibit 11).
8
  Centers for Disease Control and Prevention, Updated Guidelines for Antiretroviral
Postexposure Prophylaxis After Sexual, Injection Drug Use, or Other Nonoccupational Exposure
to HIV (2016) [hereinafter Updated Guidelines],
https://www.cdc.gov/hiv/pdf/programresources/cdc-hiv-npep-guidelines.pdf,
[https://perma.cc/Q8UL-M32W] (Exhibit 12).


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        65.    Because of ethical and logistical reasons, placebo-controlled, human clinical trials

have not been performed to test the efficacy of different PEP regimens.9 In the absence of such

data, PEP recommendations have relied on preclinical animal studies that are limited to specific

drugs and dosages and infection routes, observational data collected from the clinical follow-up of

persons potentially exposed to HIV, and clinical experience from treating HIV-infected persons.

        66.    Following the approval of zidovudine (also known as azidothymidine or AZT) in

1987 as the first drug for treatment of HIV infections, one retrospective case-control study showed

the odds of HIV infection among health care workers who took zidovudine prophylactically after

an occupational exposure (e.g. needle-stick injuries) were reduced by approximately 81 percent.10

The study cautioned that “[b]ecause it is difficult to control for known and unknown factors that

contribute to HIV transmission, a retrospective case–control study is not the optimal design for

assessing the efficacy of zidovudine; however, a prospective, placebo-controlled trial has not been

possible.”11

        67.    Over time, following the approval of new antiretroviral drugs and the availability

of additional observational data, recommendations for PEP have evolved to focus on combination

regimens, similar to those used to treat HIV-infected persons.          However, the guidelines

acknowledge that “the applicability of [combination ART recommendations] to PEP is unknown”



9
  Dawn K. Smith et al., Antiretroviral Postexposure Prophylaxis After Sexual, Injection-Drug
Use, or Other Nonoccupational Exposure to HIV in the United States, 54 CDC MORBIDITY AND
MORTALITY WEEKLY REP. (RR02) 1, 2 (Jan. 21, 2005),
https://www.cdc.gov/mmwr/preview/mmwrhtml/rr5402a1.htm [https://perma.cc/8B8U-EY44]
(Exhibit 13).
10
   Denise M. Cardo et al., A Case–Control Study of HIV Seroconversion in Health Care Workers
After Percutaneous Exposure, 337 NEW ENG. J. MED. 1485, 1488 (1997),
https://www.nejm.org/doi/10.1056/NEJM199711203372101 [https://perma.cc/88FM-2ZR8]
(Exhibit 14).
11
   Id.


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and that “[d]etermining which [antiretrovirtal drugs] and how many to use or when to alter a PEP

regimen is primarily empiric.”12 Because of the lack of clinical trials, the precise effectiveness of

PEP regimens remains unknown and, thus, none of the PEP regimens is FDA-approved for a PEP

indication.

               1.      Early Data Regarding Tenofovir Alone for PEP

         68.   Early preclinical PEP data from animal models relate solely to work with tenofovir

alone, either injected under the skin (subcutaneously) or topically applied (e.g., vaginally). No

data were generated for the later-approved TDF. And the tenofovir data were decidedly mixed.

Accordingly, at the time of CDC’s patented PrEP research, there were no relevant preclinical data

regarding the administration of the FTC/TDF combination for PEP, and like all PEP regimens,

there were no human clinical data.

         69.   In 1998, for example, a preclinical animal study was published regarding the use of

subcutaneous tenofovir alone in a PEP regimen. In that study, administration of subcutaneous

tenofovir to macaque monkeys after intravenous viral exposure for four weeks prevented 100




12
   Adelisa L. Panlilio et al., Updated U.S. Public Health Service Guidelines for the Management
of Occupational Exposures to HIV and Recommendations for Postexposure Prophylaxis, 54
CDC MORBIDITY AND MORTALITY WEEKLY REP. (RR-9) 1, 5 (Sept. 30, 2005),
https://www.cdc.gov/mmwr/preview/mmwrhtml/rr5409a1.htm [https://perma.cc/EE6Y-A6DP]
(Exhibit 15).


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percent of infections.13 However, the PEP regimens did not prevent infections when the regimens

were started at 48 hours after exposure or when the duration of treatment was ten days or less.14

               2.     PEP Guidelines

         70.   In 1996, the first U.S. Public Health Service (PHS) recommendations for the use of

PEP after occupational exposure to HIV were published.             The fourth update to those

recommendations, “Guidelines for the Management of Occupational Exposures to HIV and

Recommendations for Postexposure Prophylaxis,” was published on September 30, 2005.15 Also

in 2005, HHS published recommendations on “Antiretroviral Postexposure Prophylaxis After

Sexual, Injection-Drug Use, or Other Nonoccupational Exposure to HIV.”16

         71.   These 2005 guidelines indicate that Truvada® as an FTC/TDF regimen was only

one of numerous PEP regimens that could be selected based on a variety of factors.

         72.   For occupational exposure (e.g., needle-stick injuries in health care providers),

eight different basic treatment regimens, the guidelines recommended seven expanded treatment

regimens, and one injection antiviral (enfuvirtide), depending on the type and severity of the

exposure. Two-drug treatment regimens were recommended for low-risk exposures and three (or

four) drug regimens for increased-risk exposures:17



13
   Che-Chung Tsai et al., Effectiveness of Postinoculation (R)-9-(2-phosphonylmethoxypropyl)
Adenine Treatment for Prevention of Persistent Simian Immunodeficiency Virus SIVmne Infection
Depends Critically on Timing of Initiation and Duration of Treatment, 72 J. VIROLOGY (5) 4265,
4271 (1998), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC109656/ [https://perma.cc/XLG8-
RA22] (Exhibit 16); see also Ron A. Otten et al., Efficacy of Postexposure Prophyaxis After
Intravaginal Exposure of Pig Tailed Macaques to a Human-Derived Retrovirus (Human
Immunodeficiency Virus Type 2), 74 J. VIROLOGY (20) 9771 (2000),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC112413/ [https://perma.cc/K6V8-XK4F]
(Exhibit 17).
14
   Tsai et al., supra note 13, at 4271.
15
   Panlilio et al., supra note 12.
16
   Smith et al., supra note 9.
17
   Panlilio et al., supra note 12, at Appendix (emphasis added).
                                              – 16 –
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                         Zidovudine (Retrovir™; ZDV; AZT) plus lamivudine (Epivir®; 3TC);
                          available as Combivir™

                         Zidovudine (Retrovir®; ZDV; AZT) plus emtricitabine (Emtriva™; FTC)

                         Tenofovir DF (Viread®; TDF) plus lamivudine (Epivir®; 3TC)

                         Tenofovir DF (Viread®; TDF) plus emtricitabine (Emtriva™; FTC);
                          available as Truvada®

                         Lamivudine (Epivir®; 3TC) plus stavudine (Zerit®; d4T)

                         Emtricitabine (Emtriva™; FTC) plus stavudine (Zerit®; d4T)

                         Lamivudine (Epivir®; 3TC) plus didanosine (Videx®; ddI)

                         Emtricitabine (Emtriva™; FTC) plus didanosine (Videx®; ddI), or

                         Any of the above plus one of the following:

                          o        Lopinavir/ritonavir (Kaletra®; LPV/RTV)

                          o        Atazanavir (Reyataz®; ATV) with or without ritonavir (Norvir®;
                                   RTV)

                          o        Fosamprenavir (Lexiva®; FOSAPV) with or without ritonavir
                                   (Norvir®; RTV)

                          o        Indinavir (Crixivan®; IDV) with or without ritonavir (Norvir®;
                                   RTV)

                          o        Saquinavir (Invirase®; SQV) plus ritonavir (Norvir®; RTV)

                          o        Nelfinavir (Viracept®; NFV)

                          o        Efavirenz (Sustiva®; EFV)

          73.     For nonoccupational exposure (e.g., sexual exposure), the 2005 guidelines

recommended eleven different treatment regimens, depending on the type and timing of the

exposure:18

                         [Preferred] Efavirenz plus (lamivudine or emtricitabine) plus (zidovudine
                          or tenofovir)


18
     Smith et al., supra note 9, at 9 tbl.2.
                                                  – 17 –
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                      [Preferred] Lopinavir/ritonavir (co-formulated         as    Kaletra®)    plus
                       (lamivudine or emtricitabine) plus zidovudine

                      [Alternative] Efavirenz plus (lamivudine or emtricitabine) plus abacavir or
                       didanosine or stavudine

                      [Alternative] Atazanavir/ritonavir plus (lamivudine or emtricitabine) plus
                       (zidovudine or stavudine or abacavir or didanosine) or tenofovir

                      [Alternative] Fosamprenavir plus (lamivudine or emtricitabine) plus
                       (zidovudine or stavudine) or (abacavir or tenofovir or didanosine)

                      [Alternative] Fosamprenavir/ritonavir plus (lamivudine or emtricitabine)
                       plus (zidovudine or stavudine or abacavir or tenofovir or didanosine)

                      [Alternative] Indinavir/ritonavir plus (lamivudine or emtricitabine) plus
                       (zidovudine or stavudine or abacavir or tenofovir or didanosine)

                      [Alternative] Lopinavir/ritonavir (co-formulated as Kaletra) plus
                       (lamivudine or emtricitabine) plus (stavudine or abacavir or tenofovir or
                       didanosine)

                      [Alternative] Nelfinavir plus (lamivudine or emtricitabine)               plus
                       (zidovudine or stavudine or abacavir or tenofovir or didanosine)

                      [Alternative] Saquinavir/ritonavir plus (lamivudine or emtricitabine) plus
                       (zidovudine or stavudine or abacavir or tenofovir or didanosine)

                      [Alternative] Abacavir plus lamivudine plus zidovudine

       74.     As indicated, the FTC/TDF Truvada® combination is only listed as one of many

possible combinations in the 2005 occupational guidelines. FTC and tenofovir are listed as parts

of several of the eleven PEP regimens in the 2005 nonoccupational guidelines (which would apply

to sexual exposures), but only in further combination with at least one additional drug.

       75.     The 2005 guidelines explain that selection of a regimen should involve the empiric

evaluation of several factors, namely (1) severity of the exposure and imminent need for PEP

treatment, (2) toxicity and side effects of the antiretroviral drugs, (3) the likelihood of developing

viral resistance to those drugs, and (4) potential of non-compliance to a regimen. In this vein, the

occupational guidelines state, for example, that “[a]lthough use of a three- (or more) drug regimen

                                               – 18 –
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might be justified for exposures that pose an increased risk for transmission, whether the potential

added toxicity of a third or fourth drug is justified for lower-risk exposures is uncertain, especially

in the absence of data supporting increased efficacy of more drugs in the context of occupational

PEP.”19

         76.   Today, the prevailing 2016 HHS PEP guidelines recommend a triple-drug

combination of HIV drugs within 48 to 72 hours of a possible exposure and staying on the daily

regimen for a month. Unlike earlier guidelines, the present guidelines recommend Truvada® as

part of a three-drug combination for PEP. The 2016 guidelines do not recommend administration

of Truvada® alone or Descovy® alone for PEP.20

         I.    Pre-Exposure Prophylaxis (PrEP)

         77.   Lacking a vaccine or another pre-exposure preventive drug regimen, some

researchers sought oral medications that, when taken on a regular basis prior to exposure, prevent

the spread of HIV. This type of preventive regimen is known as pre-exposure prophylaxis (PrEP).

         78.   “Unlike PEP, which is a 28-course of antiretroviral therapy taken shortly after a

high-risk exposure, PrEP refers to HIV-negative individuals taking a daily dose of antiretroviral

therapy started before HIV exposure and continuing throughout periods of risk.”21 “PEP may be

challenging to implement effectively in humans because of the difficulty individuals have in self-

identifying high-risk exposures and the numerous operational challenges in providing PEP to

patients as soon as possible after high-risk exposure. In contrast to PEP, PrEP dosing is unlinked



19
   Panlilio et al., supra note 12, at 5 (“Selection of HIV PEP Regimens”).
20
   Updated Guidelines, supra note 8, at 31 tbl.5.
21
   Albert Y. Liu, et al., Preexposure Prophylaxis for HIV: Unproven Promise and Potential
Pitfalls, 296 JAMA (7) 863, 863 (2006),
https://jamanetwork.com/journals/jama/fullarticle/203155 [https://perma.cc/C2SQ-8PXQ]
(Exhibit 18).


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to sexual practice, does not require individuals to identify high-risk exposures, and does not need

to be initiated within a critical period after exposure.”22

         79.   Also, PrEP regimens, in contrast to PEP regimens, have been supported by specific

animal data and randomized, placebo-controlled human clinical trials of specific regimens (like

Truvada for PrEP®) in order to be approved by FDA and similar regulatory organizations

worldwide.

         80.   Evidence from several large clinical trials and observational studies of at-risk

populations estimate the effectiveness of Truvada for PrEP® at approximately 99 percent.23 On

information and belief, Gilead has generated similar data and estimates for Descovy® for PrEP in

successfully seeking FDA approval for that regimen.24

               1.      Early PrEP Efforts

         81.   Prior to CDC’s establishment of effective daily PrEP regimens in the mid-2000s,

concerns existed about the safety, cost, and effectiveness of potential regimens. In particular,

concerns existed regarding PrEP’s overall efficacy, “risk compensation” (a person using PrEP

increasing risky behavior because they perceive themselves at lower risk), a person’s ability to

adhere to a daily PrEP regimen, the safety and cost of a daily PrEP regimen for otherwise healthy

people, and the potential for developing resistant HIV strains if PrEP fails. Each of these concerns

could impact both the effectiveness of a PrEP regimen as well as the future spread of HIV.



22
   Id.
23
   Centers for Disease Control and Prevention, Effectiveness of Prevention Strategies to Reduce
the Risk of Acquiring or Transmitting HIV, CDC.gov [hereinafter Effectiveness of Prevention
Strategies], https://www.cdc.gov/hiv/risk/estimates/preventionstrategies.html
[https://perma.cc/3SSR-XM4V] (last updated/reviewed July 18, 2019) (Exhibit 19).
24
   U.S. Food & Drug Admin., FDA Briefing Document: Meeting of the Antimicrobial Drugs
Advisory Committee, FDA.gov (Aug. 7, 2019), https://www.fda.gov/media/129607/download
[https://perma.cc/H2EP-J68N] (Exhibit 20).


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         82.   Early efforts to develop PrEP regimens were focused on administration of

subcutaneous tenofovir. In the mid-1990’s, high doses of subcutaneous tenofovir alone had been

shown to have prophylactic activity in macaques exposed intravenously to simian

immunodeficiency virus (SIV), a virus similar to HIV, and frequently modified to contain parts of

the HIV genome, a virus referred to as simian HIV (SHIV).25

         83.   Subsequent tests also showed protection with subcutaneous tenofovir when

newborn macaques were injected with one dose of tenofovir four hours before and one dose of

tenofovir 24 hours after oral inoculation with SIV.26 The same researchers, however, found less

than complete protection when using a lower dose of tenofovir, but the same two-dose regimen.27

Likewise, in a third study, those same researchers found that a single dose of subcutaneous

tenofovir administered to pregnant macaques did not protect newborns against oral SIV and

intravenous SHIV inoculations after birth.28




25
   See Che-Chung Tsai et al., “Prevention of SIV Infection in Macaques by (R)-9-(2-phosohonyl-
methoxypropyl)adenine,” 270 SCIENCE 1197, 1199 (1995),
https://science.sciencemag.org/content/270/5239/1197 [https://perma.cc/QL2B-8S9T] (Exhibit
21).
26
   See Koen K.A. Van Rompay et al., Two Doses of PMPA Protect Newborn Macaques Against
Oral Simian Immunodeficiency Virus Infection, 12 AIDS F79, F81–82 (1998),
https://journals.lww.com/aidsonline/pages/articleviewer.aspx?year=1998&issue=09000&article=
00001&type=fulltext#pdf-link [https://perma.cc/7L97-7PLF] (Exhibit 22).
27
   See Koen K.A. Van Rompay et al., Two Low Doses of Tenofovir Protect Newborn Macaques
Against Oral Simian Immunodeficiency Virus Infection, 184 J. INFECTIOUS DISEASES 429, 434–
35 (2001), https://academic.oup.com/jid/article/184/4/429/808643 [https://perma.cc/B9FJ-U6RL]
(Exhibit 23).
28
   See Koen K.A. Van Rompay et al., Administration of 9-[2-(phosphonomethyl)propyl]adenine
(PMPA) for Prevention of Perinatal Simian Immunodeficiency Virus Infection in Rhesus
Macaques, 14 AIDS RES. & HUM. RETROVIRUSES 761, 764–66 (1998),
https://www.liebertpub.com/doi/abs/10.1089/aid.1998.14.761 [https://perma.cc/8PBK-QDGB]
(Exhibit 24).


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         84.   In the early to mid-2000s, researchers continued to evaluate subcutaneous

tenofovir, TDF (which received FDA approval in 2001) and TAF, also known as GS-7340,29 as

single-drug regimens to prevent SIV infection (modeling HIV infection).

         85.   But those efforts were, like clinical PrEP efforts generally in the early to mid-2000s,

surrounded with skepticism, uncertainty, and a general lack of data.

         86.   For example, in November 2004, the Center for HIV Identification, Prevention, and

Treatment Services published an article titled, “Anticipating the Efficacy of HIV Pre-exposure

Prophylaxis (PrEP) and the Needs of At-Risk Californians” (Szekeres).30 The authors stated:

               It is not yet known whether PrEP is a safe or effective approach to HIV
               prevention, however, as studies for its evaluation in several populations are
               just preparing to begin. These planned studies and future, yet-to-be-planned
               clinical trials will determine whether and to what degree PrEP is safe and
               effective.31

         87.   Szekeres specifically reported that interest existed in 2004 for oral TDF-only

regimens. It references and discusses six then-nascent human studies (in Africa, Thailand, and the

United States) designed to investigate the safety and efficacy of TDF-only for PrEP.32 No other

PrEP regimens are discussed.




29
   See, e.g., Koen K.A.Van Rompay et al., Evaluation of Oral Tenofovir Disoproxil Fumarate
and Topical Tenofovir GS-7340 to Protect Infant Macaques Against Repeated Oral Challenges
with Virulent Simian Immunodeficiency Virus, 43 J. ACQUIRED IMMUNE DEFICIENCY SYNDROME
6 (2006),
https://journals.lww.com/jaids/fulltext/2006/09000/Evaluation_of_Oral_Tenofovir_Disoproxil_F
umarate.2.aspx#pdf-link [https://perma.cc/MTP8-D8YR] (Exhibit 25).
30
   Greg Szekeres et al., Anticipating the Efficacy of HIV Pre-Exposure Prophylaxis (PrEP) and
the Needs of At-Risk Californians, CENTER FOR HIV IDENTIFICATION, PREVENTION, AND
TREATMENT SERVICES (2004),
http://www.uclaisap.org/documents/PreP_Report_FINAL_11_1_04.pdf [https://perma.cc/3XJ3-
9XHK] (Exhibit 26).
31
   Id. at 3.
32
   Id. at 6–10.


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         88.   In 2006, a group of CDC researchers, including inventors Drs. Ronald Otten,

Robert Janssen, and Thomas Folks, and led by Dr. Shambavi Subbarao, published the first

preclinical PrEP study on the use of oral TDF alone in macaque models subjected to repeated rectal

viral exposures.33 While the article was received for publication in January 2006, the study results

were available to CDC researchers and others in the field prior to the patented research.

         89.   The Subbarao study showed that oral TDF produced results far less positive than

those seen with subcutaneous tenofovir in earlier studies. Specifically, while infection with SHIV

was delayed, even macaques receiving TDF daily became infected “after a median duration of

[six] to [seven] weeks.”34 The study concluded that “[t]hese data demonstrate that treatment with

oral TDF provided partial protection against SHIV infection but ultimately did not protect all TDF

treated animals against multiple virus challenges.”35

         90.   Similarly, a study co-sponsored by Gilead and the Government had shown that oral

TDF demonstrated lower efficacy in infant macaques exposed orally to SIV.36

         91.   Based on these results, no one in the field expected a tenofovir prodrug in

combination with FTC, or any other type of PrEP regimen, to have the superior effectiveness that

the FTC/tenofovir prodrug regimens are known to have today.

         92.   Nevertheless, researchers during the mid-2000s continued to focus on developing

vaccines or TDF-only regimens for PrEP (as seen in the ongoing clinical trials). Prior to CDC’s




33
   See Shambavi Subbarao et al., Chemoprophylaxis with Tenofovir Disoproxil Fumarate
Provided Partial Protection Against Infection with Simian Immunodeficiency Virus in Macaques
Given Multiple Virus Challenges, 194 J. INFECTIOUS DISEASES 904 (2006),
https://academic.oup.com/jid/article/194/7/904/862971 [https://perma.cc/H98P-T9QL] (Exhibit
27).
34
   Id. at 904.
35
   Id.
36
   Van Rompay et al., supra note 29 at 12.
                                              – 23 –
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patented work, no preclinical or clinical PrEP studies during the mid-2000s were conducted

using the combination of FTC and TDF (or TAF). Only the CDC researchers focused their

studies on a two-drug regimen.

       2.      Research Leading to CDC’s Innovative FTC/Tenofovir Prodrug Regimens

       93.     By 2004, researchers at CDC’s Division of HIV/AIDS Prevention had begun

designing experiments to administer FTC and a tenofovir prodrug (or tenofovir) in combination as

potential PrEP regimens to prevent HIV infection in persons at high risk.

       94.     The impetus for CDC’s efforts was to improve the TDF-only regimens that had

been proven insufficiently protective (and less protective than subcutaneous tenofovir) by the

research of Dr. Subbarao and others. While many researchers aware of the results of Dr.

Subbarao’s study continued to pursue single-drug regimens (such as the TDF-only clinical trials),

the CDC researchers pursued a different direction and contemplated that the combination of TDF

and FTC could result in new, more effective PrEP regimens.

       95.     While two-drug regimens would generally be considered more toxic, the CDC

researchers hypothesized that the inclusion of FTC—as an effective antiretroviral drug with

relatively low toxicity—could add more protection than seen with TDF alone.            The CDC

researchers were the first group to take the innovative FTC/tenofovir prodrug combination path in

PrEP preclinical or clinical studies.

               3.      CDC’s Animal Modeling Techniques

       96.     CDC’s breakthrough work was enabled in part by a new and precise animal

modeling method that better simulates human HIV infections.

       97.     In prior animal research on HIV treatment and transmission, SIV or SHIV was

typically introduced into macaque (or other primate) models in a single high dose at mucosal

surfaces such that most, if not all, of the macaques would acquire an infection that could cause a
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disease similar to AIDS. This methodology did not accurately represent the type of repeat, low-

dose mucosal exposures experienced by humans with the sexual transmission of HIV, and thereby

could underestimate efficacy.

         98.    Under CDC’s new methodology, the virus was painstakingly administered into

rhesus macaques in repeated and precise low doses, by applying it vaginally or rectally, with the

intent to more accurately model the conditions by which HIV is sexually transmitted in humans.

In addition, the CDC researchers used a SHIV that incorporated and expressed the type of envelope

(exterior) of HIV-1, which also better simulated human HIV transmission.

                4.     CDC’s Determination of Proper Dosing

         99.    The precision of CDC’s experimental design, in terms of simulating and modeling

the exposure of human at-risk persons who were likely to benefit from the proposed PrEP

regimens, was also enabled by the inventors’ prior determination of the proper doses of FTC and

TDF used in their study.

         100.   Given that Truvada® was a commercially available and FDA-approved product for

HIV treatment, the researchers sought to mirror Truvada® HIV-treatment doses in the macaques,

as it could be PrEP regimens that the FDA would likely approve more quickly. Nevertheless, at

the time, no literature or other studies suggested that the therapeutic doses of TDF and FTC

available in Truvada® would also constitute effective preventive doses for a PrEP regimen.

         101.   As smaller mammals, macaques were known to eliminate drugs faster than humans.

Thus, even before starting to model human dosages, the researchers had to conduct in-depth

pharmacokinetic37 studies to determine what doses in macaques would achieve appropriate blood

and cellular levels of FTC and TDF in humans.


37
  “Pharmacokinetics” chiefly refers to the movement of drugs into, through, and out of the
human body.
                                             – 25 –
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                5.     CDC’s Determination of Appropriate FTC Dose

         102.   At the time of CDC’s research, very little pharmacokinetic data were available for

FTC in macaques. Accordingly, in late December 2004, Dr. Walid Heneine of the CDC research

team emailed Gilead employees, including Drs. Michael Miller and Howard Jaffe, about executing

a Material Transfer Agreement (MTA) to obtain FTC and also to seek “any suggestions” Gilead

had regarding pharmacokinetic studies in macaques “that would help define the best FTC

concentration to use in macaques.”38

         103.   Ultimately, Gilead executed a 2004 MTA to provide FTC to CDC, but did not

provide any of the requested pharmacokinetic data. Instead, Gilead’s Dr. Miller directed Dr.

Heneine to a third party for such data, and agreed that Dr. Heneine’s suggestion that a 20 mg/kg

dose of FTC was “a good one.”39

         104.   Accordingly, the CDC researchers proceeded with a pharmacokinetic study to

determine the appropriate FTC dose for the macaques.

         105.   To determine the appropriate FTC dose, six macaques were separately administered

48, 30, 20, 16, 15, or 12 mg/kg FTC orally and their drug levels measured at 1, 2, 4, 8, and 24 hour

intervals. The research found that an FTC dose in macaques of 20 mg/kg was comparable to the

200 mg FTC dose in humans taking a daily Truvada® tablet.

                6.     CDC’s Determination of Appropriate TDF Dose

         106.   The CDC researchers were already aware of a number of studies conducted on

dosing of TDF in rhesus macaques, including Dr. Subbarao’s TDF study. Nonetheless, the CDC

researchers again conducted their own pharmacokinetic research to ensure proper dosing.



38
   E-mail chain between Dr. Walid Heneine and Drs. Howard Jaffe and Michael Miller
(December 21–22, 2004) (Exhibit 28).
39
   Id.
                                              – 26 –
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          107.    To determine the appropriate oral TDF dose, five macaques were orally

administered 15, 20, 24, 37, or 46 mg/kg of TDF and their drug levels measured at the same hourly

intervals used for the FTC portion of the study.

          108.    The researchers determined that a TDF dose of between 20 to 24 mg/kg in

macaques resulted in blood levels of tenofovir within the range of those seen in humans taking a

daily tablet of Truvada®.40

          109.    The CDC researchers decided to proceed with the 22mg/kg dose within that range.41

                  7.     CDC’s PrEP Experiments

          110.    The animal experiments of the CDC-designed study began in May 2005, with PrEP

regimens featuring FTC, subcutaneous tenofovir, and oral TDF tested against rectal SHIV

exposures. The experiments involved 33 macaques, which were divided into four drug-treatment

groups and one control group.

          111.    Six macaques were placed into each of the four groups that were prophylactically

treated with either: (i) subcutaneously injected FTC alone (Group 1); (ii) orally administered FTC

and TDF with food (Group 2); (iii) subcutaneously administered FTC and a higher dose of

tenofovir (Group 3); or, (iv) intermittently and subcutaneously administered FTC and tenofovir

(Group 4). Groups 1, 2 and 3 received the prescribed drug regimen daily. Group 4 only received

drugs within a 26-hour period surrounding SHIV exposure, with a first administration occurring

two hours before and a second administration 24 hours after the exposure.

          112.    No drugs were administered to the one control group of 18 macaques. Of these

macaques, nine were part of this study and nine were historical controls from earlier studies

performed under identical conditions.


40
     García-Lerma et al., infra note 49, at 294.
41
     Id.
                                                   – 27 –
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          113.    Using CDC’s newly developed modeling techniques, each macaque in the study

was challenged (exposed) rectally with SHIV beginning seven to nine days after the initial

treatment. Rather than being challenged with one large dose, a smaller dose was repeated once a

week. That dosage routine modeled conditions under which at-risk humans are often exposed to

HIV (in viral levels and conditions) when the virus is transmitted sexually in humans.

          114.    Each SHIV exposure occurred two hours after drug treatments and continued

weekly (one exposure per week) for 14 weeks, unless an animal contracted a SHIV infection. After

the 14 weeks, drug treatments continued for another 28 days. Infected animals were then

monitored for several additional months to measure viral plasma levels and drug resistance. This

protocol is summarized in the figure below:42




42
     Id. at 293 fig.1.
                                                – 28 –
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              8.      Results of CDC’s PrEP Experiments

       115.   The test results demonstrated that both daily and intermittent dosing of FTC plus

TDF (or subcutaneous tenofovir) prior to exposure were unexpectedly effective in protecting

against the transmission of an immunodeficiency retrovirus (SHIV). The risk of infection in Group

2 was 7.8 times lower than in untreated control macaques. And all macaques in Groups 3 and 4



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were protected from infection. These results demonstrated the extremely high efficacy of PrEP

regimens consisting of sufficient doses of FTC and tenofovir (or a prodrug of tenofovir).

         116.   These results are represented graphically in the figure below:43




         117.   Collectively, the results demonstrated that a person at risk for HIV infection could

be effectively protected against HIV infection by regular prophylactic doses of FTC and tenofovir

or FTC and a tenofovir prodrug. From these results, the CDC researchers were also able to

conclude that dosing levels of 200 mg of FTC and 300 mg of TDF would be highly effective in

adult humans.

         118.   These results also demonstrate that the CDC researchers are the true and correct

inventors of the FTC/tenofovir prodrug regimens for effective prevention of HIV infections

claimed in the Patents-in-Suit. Accordingly, Gilead’s public statement that the Government “did

not invent . . . Truvada® for PrEP”44 is misleading.


43
   Id. at 295 fig.2.
44
   Gilead Science Statement On Inaccurate Reporting on Truvada®, Gilead.com, (May 14, 2019)
[hereinafter Gilead Statement], https://www.gilead.com/news-and-press/company-
statements/gilead--sciences--statement--on--inaccurate--reporting--on--truvada
[https://perma.cc/6QQ4-7Z7X] (Exhibit 29).
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         J.     Gilead’s Contribution Limited to Drug Donations

         119.   Gilead’s involvement in the patented research was limited to the donation of study

drugs.

         120.   Under several MTAs with CDC, signed during the period from 2004 to 2008,

Gilead provided the FTC, TDF, and tenofovir used in CDC’s research.

         121.   The earliest MTA related to the research leading to the Patents-in-Suit was signed

in December 2004 by Dr. Heneine, and later by Dr. Mick Hitchcock, Gilead’s then Vice President

of Medical Affairs, in response to Dr. Heneine’s email request for a transfer of FTC to CDC.45

         122.   Ultimately, several additional MTAs were signed relating to transfers of drugs used

in CDC’s patented research. All contained substantially identical terms regarding handling of the

study data as well as the disclosure, patenting, and licensing of inventions resulting from CDC’s

work.

         123.   For example, the 2004 MTA states that CDC, as the recipient of the drug, would

“promptly disclose to Provider [Gilead] all results, data, and other information or materials derived

from” any materials and confidential information provided by Gilead. CDC further agreed “to

promptly notify Provider of any Inventions.”46

         124.   In turn, Gilead agreed that the FDA, the National Institutes of Health (NIH), and

CDC (collectively identified in the MTA as the Public Health Service (PHS)) would “retain title

to any patent or other intellectual property rights in inventions made by its employees in the course

of the Research Project.”47 The 2004 MTA further states that “PHS agrees to give serious and



45
   Public Health Service Material Transfer Agreement Between Centers for Disease Control and
Prevention and Gilead Sciences, Inc. (executed Jan. 31, 2005) (Exhibit 30).
46
   Id. at 8.
47
   Id.


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reasonable consideration to Provider’s request for a non-exclusive or exclusive license on

commercially reasonable terms under PHS’s intellectual property rights in or to any Inventions.”

Gilead further agreed to use any research results from CDC “solely for internal research

purposes.”48 The other relevant MTAs contain the same provisions.

         125.   As described herein, CDC complied with its obligations under all of the relevant

MTAs, by inter alia, frequently disclosing to Gilead (and the public) that it had filed a patent

application on its research, and repeatedly inviting Gilead, over later years, to license the issued

patents.

         126.   Other than the provision of the study drugs, Gilead provided no substantive input

into the protocol and methods used in CDC research. Accordingly, when CDC’s results were

published in a February 2008 issue of the PLoS Medicine journal (the 2008 PLoS article),49 no

Gilead personnel were named as co-authors. Instead, the article simply thanked “[James] Rooney

and colleagues from Gilead for providing the drugs . . . .”50

         127.   Gilead’s lack of involvement in the CDC research mirrored its lack of interest in

CDC’s patented work and in PrEP generally at that time.51



48
   Id.
49
   See J. Gerardo García-Lerma et al., Prevention of Rectal SHIV Transmission in Macaques by
Daily or Intermittent Prophylaxis with Emtricitabine and Tenofovir, 5 PLOS MEDICINE (2) 291
(2008),
https://journals.plos.org/plosmedicine/article/file?id=10.1371/journal.pmed.0050028&type=print
able [https://perma.cc/GB53-28MB] (Exhibit 31).
50
   Id. at 298.
51
   HIV Prevention Drug: Billions in Corporate Profits After Millions in Taxpayer Investments:
Hearing Before the H. Comm. on Oversight and Reform, 116th Cong. 5 (2019) [hereinafter H.
Comm. Hearing] (statement of Dr. Robert M. Grant, Professor of Medicine, University of
California, San Francisco), https://www.govinfo.gov/content/pkg/CHRG-
116hhrg36660/pdf/CHRG-116hhrg36660.pdf [https://perma.cc/M5KY-YPFP] (Exhibit 32). See
also House Oversight and Reform Committee Hearing on HIV Prevention Drug: Billions in
Corporate Profits After Millions in Taxpayer Investments, Bloomberg Government (May 17,


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       K.      Patent Applications Covering CDC’s Invention and Disclosure to Gilead

       128.    A provisional patent application (2006 Provisional Application) based on CDC’s

research was filed on February 3, 2006 with the U.S. Patent and Trademark Office (PTO).

Subsequently, a non-provisional application (Application No. 11/669,547) was filed on January,

31, 2007, and was published by the PTO on November 15, 2007.

       129.    An international patent application on the same subject matter, PCT Application

No. US2007/002926, was published on August 16, 2007.

       130.    The cover page of the 2008 PLoS article has a listing entitled “Competing

Interests,” which discloses that several CDC authors “are named in a U.S. Government patent

application related to methods for HIV prophylaxis.”52 By the time the article was received by the

journal for publication on June 6, 2007, both the U.S. provisional and nonprovisional patent

applications had been filed with the PTO.

       131.    On February 1, 2008, Dr. Heine emailed a draft of the article (including the

“Competing Interests” section) was emailed to Drs. James Rooney and William Lee of Gilead.

       132.    Later papers relating to the same CDC research were similarly made available to

Gilead for review before publication.

       133.    For example, between 2010 and 2016, at least eleven such CDC-authored

publications identified the same pending Government patent application, in a manner similar to

the 2008 PLoS article.53


2019) [hereinafter Bloomberg Transcript] (Exhibit 33); Price of HIV Prevention Drug Truvada,
C-SPAN (May 16, 2019), https://www.c-span.org/video/?460810-1/gilead-ceo-daniel-oday-
testifies-truvada-hiv-prevention-drug-pricing.
52
   García-Lerma et al., supra note 49, at 291.
53
   See J. Gerardo García-Lerma et al., Intermittent Prophylaxis with Oral Truvada Protects
Macaques from Rectal SHIV Infection, 2 SCI. TRANSLATIONAL MED. (14ra4) 1 (2010),
https://stm.sciencemag.org/content/2/14/14ra4.long [https://perma.cc/2ZFG-ST3Y] (Exhibit 34)


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           134.   By providing these papers, CDC repeatedly made Gilead aware of the

Government’s filing of a patent application in 2006 and the Government’s subsequent research

efforts.



(finding PrEP regimens with same drugs to be protective); J. Gerardo García-Lerma & Walid
Heneine, Animal Models of Antiretroviral Prophylaxis for HIV Prevention, 7 CURRENT OPINION
HIV & AIDS (6) 505 (2012), https://journals.lww.com/co-
hivandaids/Abstract/2012/11000/Animal_models_of_antiretroviral_prophylaxis_for.4.aspx
[https://perma.cc/8NJ3-YFKL] (Exhibit 35); Jessica Radzio et al., Prevention of Vaginal SHIV
Transmission in Macaques by a Coitally-Dependent Truvada Regimen, 7 PLoS One (12) 1
(2012), https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0050632
[https://perma.cc/9F9H-5E24] (Exhibit 36); Mian-er Cong et al., Prophylactic Efficacy of Oral
Emtricitabine and Tenofovir Disoproxil Fumarate Combination Therapy Against a Tenofovir-
Resistant Simian/Human Immunodeficiency Virus Containing the K65R Mutation in Macaques,
208 J. INFECTIOUS DISEASES 463 (2013),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3699008/ [https://perma.cc/LZB9-JQWF]
(Exhibit 37); Jessica Radzio et al., Depot-Medroxyprogesterone Acetate Does Not Reduce the
Prophylactic Efficacy of Emtricitabine and Tenofovir Disoproxil Fumarate in Macaques, 67 J.
ACQUIRED IMMUNE DEFICIENCY SYNDROME (4) 365 (2014),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4213266/ [https://perma.cc/VK4C-GZLV]
(Exhibit 38); Charles Dobard et al., Postexposure Protection of Macaques from Vaginal SHIV
Infection by Topical Integrase Inhibitors, 6 SCI. TRANSLATIONAL MED. (227ra35) 1 (2014),
https://stm.sciencemag.org/content/6/227/227ra35.long [https://perma.cc/FN65-ZYSQ] (Exhibit
39); Ivana Massud et al., Pharmacokinetic Profile of Raltegravir, Elvitegravir and Dolutegravir
in Plasma and Mucosal Secretions in Rhesus Macaques, 70 J. ANTIMICROBIAL CHEMOTHERAPY
1473 (2015), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4398473/
[https://perma.cc/2WYP-KJUV] (Exhibit 40); Peter L. Anderson et al., Nondaily Preexposure
Prophylaxis for HIV Prevention, 11 CURRENT OPINION HIV & AIDS 94 (2016),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4784976/ [https://perma.cc/TJ8Y-YMTE]
(Exhibit 41); Susan Ruone et al., HIV-1 Evolution in Breakthrough Infections in a Human Trial
of Oral Pre-exposure Prophylaxis with Emtricitabine and Tenofovir Disoproxil Fumarate, 72 J.
ACQUIRED IMMUNE DEFICIENCY SYNDROME (2) 129 (2016),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4876572/ [https://perma.cc/TD25-MGRH]
(Exhibit 42); Mian-er Cong et al., Antiretroviral Drug Activity in Macaques Infected During Pre-
Exposure Prophylaxis Has a Transient Effect on Cell-Associated SHIV DNA Reservoirs, 11
PLOS ONE (11), 1 (Nov. 2, 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5091888/,
archived at https://perma.cc/443Z-YFEA (Exhibit 43); Jessica Radzio et al., Combination
Emtricitabine and Tenofovir Disoproxil Fumarate Prevents Vaginal Simian/Human
Immunodeficiency Virus Infection in Macaques Harboring Chlamydia Trachomatis and
Trichomonas Vaginalis, 213 J. INFECTIOUS DISEASES 1541 (2016),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4837911/ [https://perma.cc/ZK6P-P5GH]
(Exhibit 44).


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         L.     Immediate Impact of CDC’s Innovative Regimens on Clinical Research

         135.   Results from CDC’s research were first presented to the public shortly after CDC

applied for its patents and years before the Patents-in-Suit issued. In February 2006, Dr. Heneine,

a named inventor on the Patents-in-Suit, presented CDC’s data at the Conference on Retroviruses

and Opportunistic Infections (CROI) in Denver, Colorado.54

         136.   The results of the CDC’s research were first published in the 2008 PLoS article.55

The article reported that the CDC’s findings “support PrEP trials for HIV prevention in humans

and identified promising PrEP modalities.”56

         137.   After the CDC’s results were made public, they were received with excitement by

the scientific community and received immediate media attention.57 And the CDC research

quickly increased interest in PrEP within the field.

         138.   For example, articles disclosing the patented regimens and the results of the

inventors’ research were nominated for the Charles C. Shepard Science Award, the premier CDC

award for excellence in science.

         139.   In several instances, the prophylactic drug regimen in new or ongoing human

clinical trials was changed from the administration of TDF alone to administration of TDF and

FTC. These changes marked a major shift in researchers’ thinking regarding which PrEP regimens



54
   Walid Heneine, Prevention of Rectal SHIV Transmission in Macaques by Tenofovir/FTC
Combination, 13TH CONFERENCE ON RETROVIRUSES AND OPPORTUNISTIC INFECTIONS (Feb. 5–8,
2006; Denver, Colo.), conference report available at
http://www.natap.org/2006/CROI/CROI_23.htm [https://perma.cc/GYH4-45KA] (Exhibit 45).
55
   See García-Lerma et al., supra note 49.
56
   Id. at 291.
57
   See, e.g., Marilynn Marchione, Associated Press, AIDS Drugs Show Promise at Preventing
Infection; Global Studies Expanded, ASSOCIATED PRESS ARCHIVE (Mar. 27, 2006) (Exhibit 46),
syndicated at ORANGE COUNTY REGISTER (Mar. 28, 2006, 3:00 AM),
https://www.ocregister.com/2006/03/28/aids-drugs-show-prevention-promise/
[https://perma.cc/GES3-FHB6] (Exhibit 47).
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would be most effective for prevention of HIV transmission in at-risk populations, and how

effective those regimens would be.

         140.     For example, after CDC’s findings were presented at CROI in 2006, two large PrEP

trials switched from daily TDF to daily FTC/TDF, despite the delay and costs associated with such

a change: the iPrEX (Pre-Exposure Prophylaxis Initiative) study and the Botswana FTC/TDF Oral

HIV Prophylaxis Trial (TDF2) study.

         141.     These protocol changes (and their implications) were highlighted in many

publications. For example, as stated in a 2006 Journal of American Medicine (JAMA) article,

“Recent interest in PrEP as a prevention strategy has been based in part on encouraging preclinical

data on combination PrEP and also on an announcement from the [CDC] [] about a switch in

antiretroviral agent for the PrEP trial in Botswana from single agent tenofovir to combination

emtricitabine/tenofovir (FTC/TDF). This attention appears to have created increased interest in

PrEP . . . .”58

         142.     Even in the same issue as the García-Lerma 2008 PLoS article, an accompanying

editorial described how CDC’s groundbreaking research “will certainly affect the direction of

human clinical trials and public health policy.” It specifically concludes that “[t]hese results

highlight an exciting and potentially important use of ART [antiretroviral therapy] to prevent

sexual transmission of HIV, and offer further support for human clinical trials in progress or

planned.”59




58
   Effectiveness of Prevention Strategies, supra note 23, at 863 (citations omitted).
59
   Myron S. Cohen & Angela D.M. Kashuba, Antiretroviral Therapy for Prevention of HIV
Infection: New Clues from an Animal Model, 5 PLOS MED. (2) 190, 191 (2008),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2225431/ [https://perma.cc/JQK2-ARGS]
(Exhibit 48).
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          143.   PrEP studies since then have focused on the use of tenofovir prodrugs (including

TDF) in combination with FTC, rather than single-drug regimens.

          M.     Numerous Subsequent Clinical Studies Confirming the Groundbreaking
                 Efficacy of CDC’s Inventive FTC/TDF Regimen

          144.   Today, a number of human studies have confirmed that an FTC/TDF PrEP regimen

reduces the risk of getting HIV from sex by about 99 percent when taken daily by persons in high-

risk populations.

          145.   Many of these studies were funded or otherwise supported by CDC, NIH, or other

federal agencies. To date, the Government has spent hundreds of millions of dollars, much of it

coming from the NIH and CDC, on clinical studies of FTC/tenofovir prodrug PrEP regimens,

including Truvada for PrEP®.

          146.   While Gilead’s public statements emphasize the amount of money it has spent to

“support the clinical trials that led to the approval of Truvada for PrEP,”60 that claim is

disingenuous. Its support of early clinical trials was typically limited to only the donation of study

drugs. Only after the commercial success of Truvada for PrEP® did Gilead increase its funding of

PrEP clinical trials, and in particular, trials related to Descovy® for PrEP.

                 1.     iPrEx Study

          147.   From 2007 to 2011, NIH sponsored a large scale study sponsored known as iPrEx.

The study evaluated whether daily use of FTC and TDF could prevent HIV infection in 2,499 HIV-

negative men and transgender women who were at high risk for HIV infections.




60
     Gilead Statement, supra note 44.


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         148.   Results from iPrEx were published in the New England Journal of Medicine

(NEJM) in late 2010.61 This was the first published human study showing the clinical efficacy of

PrEP. The results demonstrated that FTC/TDF was effective in reducing the risk of HIV infection

by 44 percent compared with a placebo. With subjects who adhered to the FTC/TDF regimen, as

demonstrated by detectable drug levels, the data showed that the odds of HIV infection were

lowered by a factor of 12.9, with a relative reduction in HIV risk of 92 percent.62

         149.   The iPrEx results were met with wide acclaim. President Barack Obama placed a

congratulatory phone call to NIH, and, in a formal statement, proclaimed that “these kinds of

studies could mark the beginning of a new era in HIV prevention. As this research continues, the

importance of using proven HIV prevention methods cannot be overstated.”63 Likewise, TIME

magazine called the iPrEx results the most important “medical breakthrough” of 2010.64

         150.   Later analysis of the iPrEx data, which closely examined adherence to the regimen,

showed that for participants who took seven FTC/TDF pills per week (a once-daily regimen), their

estimated level of protection was 99 percent. For participants who took four FTC/TDF pills per

week, their estimated level of protection was 96 percent. And for participants who took two




61
   Robert M. Grant et al., Preexposure Chemoprophylaxis for HIV Prevention in Men Who Have
Sex with Men, 363 NEW ENG. J. MED. (27) 2587 (2010),
https://www.nejm.org/doi/full/10.1056/NEJMoa1011205 [https://perma.cc/FM3Z-9QLK]
(Exhibit 49).
62
   Id. at 2596–97.
63
   President Obama Welcomes New HIV Prevention Research Results, THE WHITE HOUSE:
OFFICE OF THE PRESS SECRETARY (Nov. 23, 2010), https://obamawhitehouse.archives.gov/the-
press-office/2010/11/23/president-obama-welcomes-new-hiv-prevention-research-results
[https://perma.cc/84N6-SGZN] (Exhibit 50).
64
   Alice Park, The Top 10 Everything of 2010: Top 10 Medical Breakthroughs 1. AIDS Drugs
Lower the Risk of HIV Infection, TIME (Dec. 9, 2010), available at
http://content.time.com/time/specials/packages/article/0,28804,2035319_2034529_2034513,00.h
tml [https://perma.cc/7KDT-347X] (Exhibit 51).


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FTC/TDF pills per week, their estimated level of protection was 76 percent.65 Thus, the data

established the efficacy of the once-daily regimen. It also validated the findings of CDC’s original

animal studies, which prompted the iPrEx protocol change to a dual-drug regimen.

         151.   In his testimony before the United States House Committee on Oversight and

Reform (House Oversight Committee66) in May 2019, current Gilead CEO Daniel O’Day claimed

that “we have two scientists . . . that were authors in the primary New England Journal article that

is the study. And to be an author on the New England Journal . . . you must have involvement in

the trial, in addition to the free medicine we provided and the know how.”67

         152.   Mr. O’Day’s statements are incorrect. Although two Gilead employees, Drs. James

Rooney and Howard S. Jaffe, are identified as authors, the NEJM article characterizes Gilead’s

role in iPrEx as being non-substantive. The article states that “[t]he role of Gilead Sciences in the

development of the protocol was limited to sections regarding the handling of the study drugs.

Neither Gilead Sciences nor any of its employees had a role in the accrual or analysis of the data

or in the preparation of the manuscript.”68

         153.   On this point, the lead author of the NEJM article and leader of the iPrEx study, Dr.

Robert Grant, Professor of Medicine at the University of California, San Francisco, testified to the




65
   See San Francisco AIDS Foundation, The Basics, PREPFACTS.ORG,
https://prepfacts.org/prep/the-basics/ [https://perma.cc/6BKW-W444] (Exhibit 52) (citing Peter
L. Anderson et al., Emtricitabine-Tenofovir Concentrations and Pre-Exposure Prophylaxis
Efficacy in Men Who Have Sex with Men, 4 SCI. TRANSLATIONAL MED. (151ra125), 1 (2012),
available at https://stm.sciencemag.org/content/4/151/151ra125 [https://perma.cc/BYT8-C2RC]
(Exhibit 53)).
66
   The House Oversight Committee is the principal investigative committee of the U.S. House of
Representatives.
67
   H. Comm. Hearing, supra note 51, at 21 (statement of Mr. Daniel O’Day, Chairman and CEO,
Gilead Sciences, Inc.); Bloomberg Transcript, supra note 51, at 27.
68
   Grant et al., supra note 61, at 2589 (emphasis added).


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House Oversight Committee that Gilead has been “a hesitant partner on PrEP research,” noting

that it “did not provide leadership, innovation, or funding for PrEP research,” but rather limited

itself “to donating study drug and placebos.”69

         154.   The bulk of iPrEx funding came from a grant from the National Institute of Allergy

and Infectious Diseases (NIAID), roughly $50 million in total. An additional $17 million of

funding was provided by the Bill and Melinda Gates Foundation (Gates Foundation). Gilead

provided FTC, TDF, tenofovir and other medication used in iPrEx, but no monetary funding.70

                2.     Partners PrEP Study

         155.   Initiated in 2007, the Partners PrEP study enrolled over 4,700 heterosexual couples

where one partner was HIV-positive and the other was not. The study evaluated the efficacy and

safety of the combination of FTC/TDF present in Truvada® and TDF-alone in preventing HIV

infection in the HIV-negative partner.71

         156.   Results published in 2012 showed the combination of FTC/TDF present in

Truvada® reduced the risk of becoming infected compared with placebo in an amount consistent

with the CDC animal data on which the Patents-in-Suit were filed. As with iPrEx, efficacy among

Partners PrEP participants was strongly correlated with drug regimen adherence.72




69
   H. Comm. Hearing, supra note 51, at 5.
70
   See Grant et al., supra note 61, at 2598.
71
   Jared M. Baeten et al., Antiretroviral Prophylaxis for HIV Prevention in Heterosexual Men
and Women, 367 NEW ENG. J. MED. (5) 399 (2012),
https://www.nejm.org/doi/full/10.1056/NEJMoa1108524 [https://perma.cc/V3Q9-7K97] (Exhibit
54).
72
   Id. at 407–408 (“Adherence to preexposure prophylaxis, protection against HIV-1 infection,
and antiretroviral resistance appear to be tightly interwoven.”).


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         157.   Where adherence could be confirmed by measuring detectable drugs, the FTC/TDF

regimen had an efficacy of 93 percent.73

         158.   Partners PrEP was funded by a $70 million grant from the Gates Foundation along

with some NIH funding for HIV-1 testing.74 Additional assistance was provided from a number

of CDC investigators, clinicians, and facilities. Many of these CDC resources werein Africa,

where the trials took place. But like the iPrEx study, Gilead provided only study medication, and

again no funding.75

         159.   Unlike the iPrEx study, no Gilead personnel were named as co-authors when the

Partners PrEP results were published in the NEJM.76

                3.     TDF2 Study

         160.   The TDF2 study was funded by CDC and NIH, and was the second study to change

its protocol from TDF-only to FTC/TDF after CDC’s patented research became public.77

         161.   Published in 2012, the TDF2 study examined the use of once-daily Truvada® pills

as an HIV PrEP regimen in over 1,200 heterosexual men and women in Botswana, which at the


73
   Jared M. Baeten et al., Single-Agent Tenofovir Versus Combination Emtricitabine/Tenofovir
for Pre-Exposure Prophylaxis for HIV-1 Acquisition: A Randomized Trial, 14 LANCET
INFECTIOUS DISEASES (11) 1055 (2014), republished at National Institute of Health Public
Access, Nov. 1, 2015, at 2, 8, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4252589/
[https://perma.cc/NVS3-2WMN] (Exhibit 55).
74
   Id. at 1064 (PDF p. 11) (“Central laboratory support for HIV-1 testing was provided in part
through the University of Washington Center for AIDS Research, funded by the US National
Institutes of Health (award number P30 AI027757)”).
75
   Baeten et al., supra note 71, at 400 (“Gilead Sciences donated the study medication but had no
role in data collection data analysis, or manuscript preparation.”); id. at 409 (“We thank . . . Dr.
James Rooney and others at Gilead Sciences for donating the study drug.”).
76
   Id. at 399, 409.
77
   See Michael C. Thigpen et al., Antiretroviral Preexposure Prophylaxis for Heterosexual HIV
Transmission in Botswana, 367 NEW ENGL. J. MED. 423, 424 (2012),
https://www.nejm.org/doi/full/10.1056/NEJMoa1110711 [https://perma.cc/8TCU-RSPR]
(Exhibit 56) (“When data from studies in animals later showed the superior efficacy of TDF–
FTC, we changed the active drug to TDF–FTC (TDF2 study).”).


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time had the world’s second highest prevalence of HIV infection. The study found that “[d]aily

TDF–FTC prophylaxis prevented HIV infection in sexually active heterosexual adults,”

particularly where adherence to the regimen could be established.78

         162.   Although the study did not confirm adherence by measuring detectable drug in the

subjects’ bloodstream, the daily FTC/TDF regimen protected 62.2 percent of adhering and non-

adhering study subjects from HIV infections. When data were excluded for subjects tested more

than 30 days after their last reported dose of study medication, the study showed an efficacy of

77.9 percent.

                4.     PROUD Study

         163.   Later studies (occurring after Truvada for PrEP® was commercially established)

found a daily FTC/TDF regimen to have even higher levels of efficacy in real-world settings,

where stricter adherence to the drug regimen was confirmed.

         164.   The PROUD study, sponsored by public health organizations in the United

Kingdom, evaluated daily FTC/TDF regimens in men who have sex with men and who were at

high risk for HIV infection.79 The PROUD researchers also received some support from Gilead,

which “provided Truvada, distributed drug to clinics, and awarded a grant for the additional

diagnostic tests including drug concentrations in plasma.”80




78
   Id. at 433.
79
   See Sheena McCormack et al., Pre-exposure Prophylaxis to Prevent the Acquisition of HIV-1
Infection (PROUD): Effectiveness Results from the Pilot Phase of a Pragmatic Open-Label
Randomised Trial, 387 THE LANCET 53 (2016),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4700047/ [https://perma.cc/3G8N-MVQA]
(Exhibit 57).
80
   Id. at 59.


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         165.   In 2015, the PROUD researchers presented their findings that daily PrEP had

protected 86 percent of its subjects from infection,81 which correlated to almost 100 percent clinical

efficacy when adherence was confirmed by detectable drugs in the bloodstream.82

                5.     ANRS-IPERGAY Study

         166.   Around the same time as PROUD, researchers announced similar results for French

and Canadian men who have sex with men in the IPERGAY Study, funded by the French National

Agency for Research on AIDS (ANRS) and other entities.83 “Gilead Sciences donated the study

medications and provided funding for the pharmacokinetics analysis but had no role in data

collection, data analysis, or manuscript preparation.”84

         167.   Rather than a daily regimen, as in previous PrEP studies, participants in the

IPERGAY study were administered FTC and TDF “on demand,” taking two doses of medication

2-24 hours before sex and two additional single doses 24 and 48 hours after the last pre-sex dose.85

Similar to the PROUD study, the ANRS-IPERGAY study showed that “on demand” PrEP had


81
   Sheena McCormack & David Dunn, Infections Group, MRC Clinical Trials Unit, Univ.
College of London, Pragmatic Open-Label Randomised Trial of Preexposure Prophylaxis: The
PROUD Study, 22ND CONFERENCE ON RETROVIRUSES AND OPPORTUNISTIC INFECTIONS (Feb. 23–
26, 2015; Seattle, Wash.), conference abstract available at
http://www.croiconference.org/sessions/pragmatic-open-label-randomised-trial-preexposure-
prophylaxis-proud-study [https://perma.cc/X83H-82RL] (Exhibit 58); see also PROUD Study
Shows Pre-Exposure Prophylaxis is Highly Protective Against HIV Infection, MRC CLINICAL
TRIALS UNIT AT UNIVERSITY COLLEGE LONDON (Feb. 24, 2015),
http://www.proud.mrc.ac.uk/media/1102/proud_press_release.pdf [https://perma.cc/R9QS-EFJC]
(Exhibit 59).
82
   See McCormack et al., supra note 79, at 57 (“These findings suggest that there were no
breakthrough HIV infections in participants who were taking PrEP.”).
83
   Jean-Michael Molina et al., On-Demand Preexposure Prophylaxis in Men at High Risk for
HIV-1 Infection, 373 NEW ENG. J. MED. (23) 2237 (2015),
https://www.nejm.org/doi/full/10.1056/NEJMoa1506273 [https://perma.cc/43XR-CWBB]
(Exhibit 60).
84
   Id. at 2239; see also id. at 2245 (“Gilead Sciences donated the TDF-FTC and placebo used in
the study and funding for the pharmacokinetics analysis.”).
85
   Id. at 2238.


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protected 86 percent of its subjects from infection,86 and the open-label extension of the study

showed an about 97 percent relative reduction of HIV incidence as compared with the placebo

group of the double-blind phase.87

                 6.     CDC’s Methodology Now “Gold Standard” For Clinical Researchers

          168.   In view of all the data now available from FTC/TDF studies, the animal studies that

underlie CDC’s patented research accurately predicted the high efficacy of PrEP seen in later

human trials.

          169.   Based on the accuracy of its macaque modeling, CDC’s methodology and study

design have become the “gold standard” for clinical researchers in testing new PrEP regimens.

And collecting such data is now considered critical to any researcher seeking to pursue human

trials.

          N.     Approval and Sales of Truvada® and Quick Approval of Descovy® That
                 Followed from CDC’s Inventive Work

          170.   In July 2012, FDA approved Truvada® for use as PrEP (trademarked by Gilead as

Truvada for PrEP®). This approval and the eventual massive sales of Truvada® can be traced back

to CDC’s patented research.

          171.   The switch among clinicians to an FTC/TDF regimen in clinical studies after

publication of CDC’s data provided the clinical support that led to FDA approval of Truvada for

PrEP®. In particular, Gilead’s FDA application relied principally on the clinical evidence in the

iPrEx and Partners PrEP studies that the drug was safe and effective at preventing HIV



86
  Id. at 2244.
87
  Jean-Michel Molina et al., Efficacy, Safety, and Effect on Sexual Behaviour of On-Demand
Pre-Exposure Prophylaxis for HIV in Men Who Have Sex with Men: An Observational Cohort
Study, 4 LANCET HIV (9) e402, e407 (2017), https://www.ncbi.nlm.nih.gov/pubmed/28747274
[https://perma.cc/JH5G-AVE4] (Exhibit 61).


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transmission in populations at increased risk of infection. Other than donating drugs, Gilead did

not support any of the clinical efforts leading to FDA approval, and indeed openly expressed

skepticism regarding PrEP.88

         172.   Even after Truvada® was approved for use as PrEP, Gilead was initially reluctant

to promote and support PrEP commercially. It did develop and support educational initiatives and

demonstration projects designed to identify at-risk persons who could benefit from PrEP, but did

not widely market PrEP or sponsor any clinical studies in the years immediately following FDA

approval.

         173.   In a September 2013 article in The New Yorker, Dr. James Rooney, Gilead’s Vice

President of Medical Affairs, stated that Gilead, despite spending “several million dollars” on PrEP

initiatives, did not “view PrEP as a commercial opportunity.” Dr. Rooney explained that “[t]he

role of antiretrovirals in H.I.V. prevention is not yet defined and not yet broadly accepted.” 89

         174.   The article further noted that existing global Truvada® sales for the treatment of

HIV infection totaled over $3 billion in 2012.90        At that time, the cost of Truvada® was

approximately $15,000 per year (or $1,250 per month) in the United States.91



88
   See Jon Cohen, Anti-HIV Pill Protects Against AIDS, SCIENCE, Nov. 23, 2010,
https://www.sciencemag.org/news/2010/11/anti-hiv-pill-protects-against-aids
[https://perma.cc/4T5C-W4CH] (Exhibit 62) (“Gilead says it wants to have ‘frank’ talks with the
U.S. Food and Drug Administration and other stakeholders before it decides to seek licensure for
Truvada as a preventive. ‘We'll have, I imagine, a very interesting discussion about the potential
risks and benefits associated with this kind of a modality, and I think that will govern what we
choose to do,’ says Howard Jaffe, president of the Gilead Foundation.”).
89
   Christopher Glazek, Why Is No One on The First Treatment to Prevent H.I.V.?, THE NEW
YORKER: ANNALS OF TECHNOLOGY, Sept. 13, 2013, https://www.newyorker.com/tech/annals-of-
technology/why-is-no-one-on-the-first-treatment-to-prevent-h-i-v [https://perma.cc/9KS5-8FVS]
(Exhibit 63).
90
   Id.
91
   Barry Coutinho & Ramakrishna Prasad, Emtricitabine/Tenofovir (Truvada) for HIV
Prophylaxis, 88 American Family Physician (8) 539 (2013),


                                               – 45 –
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        175.   In 2014, based on favorable clinical data that mirrored the initial CDC animal

results, CDC issued comprehensive clinical guidelines recommending that daily PrEP be

considered for HIV prevention in all people who are at substantial risk. The World Health

Organization (WHO) issued a similar recommendation in 2015 after studies showed that PrEP was

highly effective at reducing the risk of HIV infection among high-risk populations in real-world

settings.92

        176.   Following the new guidelines, sales for Truvada for PrEP® skyrocketed, both in the

United States and worldwide. In 2016, there were 77,120 PrEP users in the United States, as

compared to 8,768 PrEP users in 2012.93

        177.   In recent years, PrEP use has continued to expand. In 2018, there were over

200,000 PrEP users in the United States. But that number is still far less than the 1.1 million

American adults at high risk of HIV infection who CDC estimates could benefit from PrEP.

        178.   In response to the increased demand for Truvada for PrEP®, Gilead has significantly

increased the price it charges for this drug. Presently, Truvada for PrEP® sells for about $1,800




https://www.aafp.org/afp/2013/1015/p535.html#afp20131015p535-b7 [https://perma.cc/9VZG-
SQNF] (Exhibit 64).
92
   Policy Brief: WHO Expands Recommendation on Oral Preexposure Prophylaxis of HIV
Infection (PrEP),WORLD HEALTH ORGANIZATION (Nov. 2015),
https://apps.who.int/iris/bitstream/handle/10665/197906/WHO_HIV_2015.48_eng.pdf;jsessionid
=0EED25F90C1914C313B7C06916AAC0F0?sequence=1 [https://perma.cc/N5XB-4NFJ]
(Exhibit 65).
93
   Mapping PrEP: First Ever Data on PrEP Users Across the U.S., AIDSVU,
https://aidsvu.org/prep [https://perma.cc/2P56-C34H] (Exhibit 66); see also AIDSVu graphic,
https://aidsvu.org/wp-content/uploads/2018/03/2-AIDSVu-PrEP_77000-Graphic-1024-x-512-
v10.png [https://perma.cc/2YZJ-XLK5] (Exhibit 67).


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per month in the United States.94 Those sales account for much of the $3 billion that Gilead earned

from Truvada® last year.

         179.   With its U.S. patents for Truvada® expiring in 2021, Gilead has sought in recent

years to obtain FDA approval for its antiretroviral drug Descovy® for use as PrEP.

         180.   On August 7, 2019, an FDA advisory committee recommended approval of

Descovy® for PrEP to reduce the risk of sexually acquired HIV-1 infection in men and transgender

women who have sex with men.

         181.   Following these recommendations, FDA approved Descovy for PrEP on October

3, 2019 for those groups, but did not approve Descovy® for PrEP for many women, namely those

“at risk of HIV-1 from receptive vaginal sex because the effectiveness in this population has not

been evaluated.”95

         O.     PrEP as Critical Component of Effort to End HIV Epidemic

         182.   Today, PrEP is a critical component of the Government’s efforts to end the HIV

epidemic. During the 2019 State of the Union address, President Donald J. Trump announced a

new initiative entitled “Ending the HIV Epidemic: A Plan for America,” with the goal of reducing




94
   Shefali Luthra & Anna Gorman, Rising Cost of PrEP to Prevent HIV Infection Pushes It out of
Reach for Many, NPR (June 30, 2018), https://www.npr.org/sections/health-
shots/2018/06/30/624045995/rising-cost-of-prep-a-pill-that-prevents-hiv-pushes-it-out-of-reach-
for-many [https://perma.cc/KL8C-392M] (Exhibit 68) (“Since brand-name Truvada was
approved for HIV prevention six years ago, its average wholesale price has increased by about
45 percent. Now, the drug — which rakes in billions of dollars in annual global revenue for its
manufacturer, Gilead Sciences — carries a list price of close to $2,000 for a 30-day supply.”);
see also Fitzsimons, infra note 103, at 4 (“While a month’s supply of generic Truvada is
available in countries around the world for as little as $70, in the United States a month’s supply
sells for $1,600 to $2,000[.]”). As of March 2019, the wholesale acquisition cost (WAC) of a
month supply of Truvada was $1757.90.
95
   FDA Approves Second Drug to Prevent HIV, supra note 5.


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new HIV infections by 90 percent by 2030.96 CDC’s efforts in this regard will put particular focus

on working closely with other HHS agencies, local and state governments, communities, and

people with HIV to expand new HIV prevention and treatment efforts in 48 counties with the

highest HIV burden; Washington, D.C.; San Juan, Puerto Rico; and seven states with

disproportionate rural burdens.97

         183.    CDC’s efforts will focus on four key strategies that together can end the HIV

epidemic in the U.S.: 1) diagnose all people with HIV as early as possible; 2) treat HIV rapidly

and effectively after diagnosis in all people with HIV to help them get and stay virally suppressed;

3) prevent HIV transmissions using proven prevention interventions, including PrEP and syringe

service programs; and 4) respond quickly to potential HIV outbreaks to get prevention and

treatment services to people who need them.98

         184.    Administration of (and access to) Truvada for PrEP® will be a key focal point for

prevention efforts in the identified geographic areas, or “hot spots,” across the United States.

         185.    One barrier to these efforts is the stigma sometimes associated with PrEP users and

other challenges related to reaching marginalized and hard-to-reach communities at high risk for

HIV infection.

         186.    Another critical barrier to increasing access to PrEP in the United States has been

the cost of Truvada®, which presently is only sold by Gilead, by virtue of U.S. patents that




96
   See What is ‘Ending the HIV Epidemic: A Plan for America’?, HIV.GOV,
https://www.hiv.gov/federal-response/ending-the-hiv-epidemic/overview,
[https://perma.cc/32YQ-A66N] (last updated Sept. 3, 2019) (Exhibit 69).
97
   Id.; see also Ending the HIV Epidemic Counties, Territories and States, HIV.GOV,
https://files.hiv.gov/s3fs-public/Ending-the-HIV-Epidemic-Counties-and-Territories.pdf,
[https://perma.cc/V27J-ZC4Q] (updated Feb. 7, 2019) (Exhibit 70).
98
   Supra note 96 (PDF p. 7).
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purportedly cover the product. This is a major reason that many at risk of HIV infection in the

United States are not currently taking Truvada for PrEP®.

         187.   Many AIDS activists and many in the medical community have criticized

Truvada®’s price in the United States, particularly in light of HHS’s patents, the Government’s

funding of clinical research on PrEP, and the relatively low cost at which Gilead apparently makes

the product.99 This criticism was the principal focus of a House Oversight Committee hearing held

in May 2019. 100

         188.   On the issue of cost and access, many advocates and activists also point to PrEP

use in Australia, where its government-funded roll-out of free Truvada for PrEP® in New South

Wales reduced new HIV diagnoses by 25 percent in the one year of research, the lowest rate in

that state since 1985.101



99
   #BreakThePatent, https://breakthepatent.org [https://perma.cc/8FT5-Q7UV] (Exhibit 71)
(“The drug costs less than $6 a month to make but Gilead charges patients more than $1,600 for
a 30 day supply.”); id. (“The manufacturer of the Truvada, Gilead Sciences, has inflated the price
by more than 25,000% . . . [w]hat Gilead charges for just two pills could pay for an entire year’s
supply of a generic equivalent.”).
100
    See H. Comm. Hearing, supra note 51 (“HIV PREVENTION DRUG: BILLIONS IN
CORPORATE PROFITS AFTER MILLIONS IN TAXPAYER INVESTMENTS”); see also id.
at 2 (statement of Chairman Elijah Cummings) (“When Truvada was first approved in 2004,
Gilead charged about $800 per month, again, for this lifesaving drug. Since then, Gilead raised
the price of this drug over and over and over and over and over again. It now charges about
$2,000 for just one month or about $70 per pill. . . . how can our system let a company charge
prices that are so outrageous, making $36 billion while there are literally hundreds of thousands
of people who need this drug?”).
101
    See, e.g., Nina Avramova, PrEP Can ‘Significantly’ Reduce HIV Rates Across Populations,
Study Says, CNN (Oct. 17, 2018, 3:00 PM ET), https://www.cnn.com/2018/10/17/health/hiv-
reduction-men-prep-australia-intl-study/index.html [https://perma.cc/S5KN-PE7U] (Exhibit 72)
(“Based on introduction of the intervention, HIV infections diagnosed in men who have sex with
men in the Australian state of New South Wales fell by a quarter -- 25.1% -- in one year in the
research, published Wednesday in the journal the Lancet.”); see also Sheena McCormack, What
Happens When PrEP is Scaled up? Results from EPIC-NSW, 5 The Lancet HIV (11) e607, e607-
08 (Oct. 17, 2018), https://www.thelancet.com/journals/lanhiv/article/PIIS2352-3018(18)30253-
4/fulltext [https://perma.cc/SKG2-T2EQ] (Exhibit 73).


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        P.      Teva Settlement Announcement

        189.    In response to criticism of its pricing, Gilead has taken a number of public actions

to address this issue.

        190.    For example, on May 8, 2019, nine days prior to the House Oversight Committee

hearing, Gilead announced a settlement that would permit marketing in the United States of a

generic equivalent of the Truvada for PrEP® product from Teva Pharmaceuticals Industries Ltd.

(Teva) on September 30, 2020, roughly one year ahead of the expiration of its Truvada®-related

patents.102

        191.    According to an email sent the same day (May 8) to investors by Douglas M.

Brooks, Gilead’s Executive Director for Community Engagement, the parties agreed to the

September 2020 date under a patent-related settlement reached in 2014. Mr. Brooks’ email also

denied that this settlement was “related to current discussions with the U.S. government to broaden

access to Truvada for PrEP[®] for vulnerable populations and support the federal plan to end the

HIV epidemic.”103

        192.    Based on information and belief, no terms of the Gilead-Teva settlement have ever

been publicly disclosed.

        193.    AIDS activists questioned the settlement’s impact on access to Truvada for PrEP®.

For example, Dr. Aaron Lord, a PrEP user and a founder of the PrEP4All Collaboration advocacy


102
    See Gilead Sciences, Inc., Quarterly Report (Form 10-Q), at 35 (May 8, 2019),
http://investors.gilead.com/static-files/0ff8d741-b9eb-4162-bcb4-f16094d37254
[https://perma.cc/QG3P-VJXE] (Exhibit 74) (“Pursuant to a settlement agreement relating to
patents that protect Truvada and Atripla, Teva Pharmaceuticals will be able to launch generic
fixed-dose combinations of emtricitabine and TDF and generic fixed-dose combinations of
emtricitabine, TDF and efavirenz in the United States on September 30, 2020.”).
103
    Tim Fitzsimons, Generic HIV Prevention Drug Coming in 2020, Gilead Says, NBC NEWS
(May 8, 2019, 1:53 PM EDT), https://www.cnbc.com/2019/05/08/generic-hiv-prevention-drug-
coming-in-2020-gilead-says.html [https://perma.cc/3Y5E-WWJQ] (Exhibit 75).


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group, stated that the settlement “leaves Gilead with exclusive rights to Truvada as PrEP for

another 15 months and Teva as the only generic manufacturer on the U.S. market. This will do

little to reduce the price in a way that will increase access and PrEP4All remains suspicious of the

terms and lack of transparency surrounding the Teva settlement.”104

       194.    Similarly, Mr. Horn, on behalf of NASTAD (the National Alliance of State and

Territorial AIDS Directors), also questioned the impact of the Teva settlement on pricing, stating:

“Historically, when there’s only one generic manufacturer in the field, the price difference is a

miniscule 10% to 15%. The real savings for all purchasers and payers won’t begin until there’s

robust generic competition.”105

       195.    The launch of Teva’s soon-to-be generic product is being preceded by Gilead’s

current launch of Descovy® for PrEP. This presumably will decrease sales of Truvada® and

generic equivalents in the PrEP market. And patient assistance programs Gilead currently offers

for Truvada for PrEP® users may also affect the willingness of users to convert to a generic

equivalent.

V.     CDC’S PATENTS

       196.    At issue here are four Government-owned patents resulting from CDC’s research

on FTC/tenofovir and FTC/tenofovir prodrug regimens for PrEP. The claims of these patents

generally cover processes for protecting a primate or human host from a self-replicating infection

by an immunodeficiency retrovirus, including HIV. In the claimed inventions, the protection is



104
    Aaron S. Lord, MD, Official Statement Responding to Gilead Sciences’ Announcement That it
Will Allow Teva to Manufacture a Generic Version of Truvada, #BreakThePatent (May 8, 2019),
https://breakthepatent.org/official-statement-responding-to-gilead-sciences-announcement-that-
it-will-be-release-its-patent-on-truvada-a-year-early [https://perma.cc/9PR3-L8US] (Exhibit 76).
105
    Trenton Straube, Generic PrEP To Arrive In September 2020, But Will Big Savings Follow?,
POZ MAGAZINE (May 9, 2019), https://www.poz.com/article/generic-prep-arrive-september-
2020-will-big-savings-follow [https://perma.cc/6C6V-TMDQ] (Exhibit 77).
                                              – 51 –
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provided by a combination of a nucleoside reverse transcriptase inhibitor, such as FTC, and a

nucleotide reverse transcriptase inhibitor, such as tenofovir, or esters/prodrugs of tenofovir, such

as TDF or TAF.

       A.      The ’509 Patent

       197.    The ’509 patent (Exhibit 1) is entitled “Inhibition of HIV Infection through

Chemoprophylaxis,” and issued on June 2, 2015. It claims priority to the 2006 Provisional

Application.

       198.    The ’509 patent lists five current or former CDC scientists as inventors: Drs. Walid

Heneine, Thomas M. Folks, Robert Janssen, Ronald Otten, and Jose Gerardo García-Lerma

(collectively, the Inventors).

       199.    The ’509 patent is assigned to the United States of America, as represented by the

Secretary of HHS, as the result of written assignments from the Inventors prior to issuance.

       200.    The ’509 patent features two independent claims: claims 1 and 12.

       Claim 1 recites:

       1. A process of protecting a primate host from a self-replicating infection by an
       immunodeficiency retrovirus comprising:
               (a)     selecting a primate host not infected with the immunodeficiency
       retrovirus, and
               (b)     administering directly to an uninfected primate host a combination
       comprising:
               i.      a pharmaceutically effective amount of emtricitabine; and
               ii.     a pharmaceutically effective amount of tenofovir or tenofovir
                       disoproxil fumarate,
       wherein the combination is administered prior to an exposure of the primate host to
       the immunodeficiency retrovirus, thereby protecting the primate host from
       infection with the immunodeficiency retrovirus, wherein the combination is
       administered orally.

       201.    Claim 12 recites a similar process, except for being directed to “[a] process for

inhibiting [the] establishment of a self-replicating infection of human immunodeficiency virus in

a human,” rather than a primate:
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       12. A process for inhibiting establishment of a human immunodeficiency virus
       self-replicating infection of human immunodeficiency virus infection in a human,
       comprising:
               (a)     selecting an uninfected human that does not have the self-replicating
       infection; and
               (b)     administering to the uninfected human a combination comprising:
               i.      a pharmaceutically effective amount of emtricitabine; and
               ii.     a pharmaceutically effective amount of tenofovir or tenofovir ester;
       thereby inhibiting the establishment of the self-replicating infection with the
       immunodeficiency virus in the human, wherein the combination is administered
       orally.

       202.    TDF and TAF are both tenofovir esters.

       203.    Claim 13 depends from Claim 12 and recites: “The process of claim 12 wherein

the combination is administered prior to a potential exposure of the primate host to the human

immunodeficiency retrovirus.” (second emphasis added).

       204.    The ’509 patent will expire on May 12, 2031.

       205.    Since the issuance of the ’509 patent, the Government has acquired three additional

patents based on the same disclosure of the ’509 patent.

       B.      The ’333 Patent

       206.    The ’333 patent (Exhibit 2) issued on February 28, 2017.

       207.    The ’333 patent is assigned to the United States of America, as represented by the

Secretary of HHS, as the result of written assignments from the Inventors prior to issuance.

       208.    The ’333 patent contains two independent claims: claims 1 and 12.

       209.    Claim 1 recites:

       1. A process of protecting a primate host from a self-replicating infection by an
       immunodeficiency retrovirus comprising:
             (a)     selecting a primate host not infected with the immunodeficiency
             retrovirus, and
             (b)     administering directly to an uninfected primate host a combination
             comprising:
             i.      a pharmaceutically effective amount of emtricitabine, wherein the
                     pharmaceutically effective amount of the emtricitabine is
                     administered orally, subcutaneously or vaginally; and
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               ii.     a pharmaceutically effective amount of tenofovir or tenofovir
                       disoproxil fumarate, wherein the pharmaceutically effective amount
                       of the tenofovir or tenofovir disoproxil fumarate is administered
                       orally, subcutaneously or vaginally,
       and wherein the combination is administered prior to the exposure of the primate
       host to the immunodeficiency retrovirus, thereby protecting the primate host from
       infection with the immunodeficiency retrovirus.

       210.    Claim 12 recites:

       12. A process for inhibiting establishment of a human immunodeficiency virus
       self-replicating infection of human immunodeficiency virus infection in a human,
       comprising:
               (a)     selecting an uninfected human that does not have the self-replicating
                       infection; and
               (b)     administering to the uninfected human a combination comprising:
               i.      a pharmaceutically effective amount of emtricitabine wherein the
                       pharmaceutically effective amount of the emtricitabine is
                       administered orally, subcutaneously or vaginally; and
               ii.     a pharmaceutically effective amount of tenofovir or tenofovir
                       disoproxil fumarate wherein the pharmaceutically effective amount
                       of the tenofovir or tenofovir disoproxil fumarate is administered
                       orally, subcutaneously or vaginally;
       thereby inhibiting the establishment of the self-replicating infection with the
       immunodeficiency virus in the human.

       211.    Claim 13 depends from Claim 12 and recites: “The process of claim 12 wherein

the combination is administered prior to a potential exposure of the human to the human

immunodeficiency retrovirus.” (second emphasis added).

       C.      The ’191 Patent

       212.    The ’191 patent (Exhibit 3) issued on April 10, 2018.

       213.    The ’191 patent is assigned to the United States of America, as represented by the

Secretary of HHS, as the result of written assignments from the Inventors prior to issuance.

       214.    The ’191 patent contains two independent claims: claims 1 and 13.

       215.    Claim 1 recites:

       1. A process of protecting a primate host from a self-replicating infection by an
       immunodeficiency retrovirus comprising:


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               (a)    selecting a primate host not infected with the immunodeficiency
                      retrovirus, and
               (b)    administering directly to an uninfected primate host a combination
                      comprising:
               i.     a pharmaceutically effective amount of emtricitabine; and
               ii.    a pharmaceutically effective amount of tenofovir or tenofovir
                      disoproxil fumarate,
       wherein the combination is administered orally in tablet form prior to the exposure
       of the primate host to the immunodeficiency retrovirus,
       thereby protecting the primate host from infection with the immunodeficiency
       retrovirus.

       216.    Claim 13 recites:

       13. A process for inhibiting establishment of a human immunodeficiency virus
       self-replicating infection of human immunodeficiency virus infection in a human,
       comprising:
           (a)         selecting an uninfected human that does not have the self-replicating
                       infection; and
           (b)         administering to the uninfected human a combination comprising:
           i.          a pharmaceutically effective amount of emtricitabine in a tablet; and
           ii.         a pharmaceutically effective amount of tenofovir or a tenofovir
       disoproxil fumerate in a tablet;
       thereby inhibiting the establishment of the self-replicating infection with the
       immunodeficiency virus in the human, wherein the combination is administered
       prior to a potential exposure of the human to the human immunodeficiency
       retrovirus.

       D.      The ’423 Patent

       217.    The ’423 patent (Exhibit 4) issued on July 2, 2019.

       218.    The ’509 patent is assigned to the United States of America, as represented by the

Secretary of HHS, as the result of written assignments from the Inventors prior to issuance.

       219.    The ’423 patent contains two independent claims: Claims 1 and 12.

       220.    Claim 1 recites:

       1. A process of protecting a primate host from a self-replicating infection by an
       immunodeficiency retrovirus comprising:
               (a) selecting a primate host not infected with the immunodeficiency
       retrovirus, and
               (b) administering directly to the primate host a combination comprising:
               i. a pharmaceutically effective amount of emtricitabine; and
               ii. a pharmaceutically effective amount of tenofovir or a tenofovir prodrug,
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       wherein the combination is administered orally prior to the exposure of the primate
       host to the immunodeficiency retrovirus,
       thereby protecting the primate host from infection with the immunodeficiency
       retrovirus.

       221.    Claim 12 recites:

       12. A process for inhibiting establishment of a human immunodeficiency virus
       self-replicating infection of human immunodeficiency vims infection in a human,
       comprising:
               (a)     selecting an uninfected human that does not have the self-replicating
                       infection; and
               (b) administering to the uninfected human a combination comprising:
               i.      a pharmaceutically effective amount of emtricitabine; and
               ii.     a pharmaceutically effective amount of tenofovir or a tenofovir
                       prodrug;
       thereby inhibiting the establishment of the self-replicating infection with the
       immunodeficiency virus in the human, wherein the combination is administered
       prior to potential exposure the human to the human immunodeficiency retrovirus.

       222.    TDF and TAF are both tenofovir prodrugs.

       223.    As a result of terminal disclaimers, the ’333, ’191, and ’423 patents expire on

January 31, 2027. All three also share the same title and list the same inventors as the ’509 patent.

VI.    CDC’S EFFORTS TO LICENSE THE PATENTS-IN-SUIT

       A.      CDC’s Licensing of Its Patented Work Outside the United States

       224.    Gilead has patents that prevent the sale by others of pharmaceutical combinations

of tenofovir disoproxil fumarate (TDF) and emtricitabine (FTC) (Truvada®) in the United States,

but generic equivalents to Truvada® are now on the market in many other countries.

       225.    Of the companies with approval, or seeking approval, to market generic equivalents

to Truvada® abroad, the only company to acquire a multi-country license to the patent rights at

issue is Mylan, N.V. (Mylan), which is currently selling its generic Truvada® product in Australia,

Canada, Germany, France, and the United Kingdom, where HHS owns foreign counterparts to the

Patents-in-Suit.



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       226.    Before taking a license, Mylan challenged CDC’s European Patent No. 2,015,753,

a foreign counterpart to the Patents-in-Suit, in a multi-year proceeding before the European Patent

Office known as an opposition.

       227.    The claims of CDC’s European patent were upheld as valid.

       228.    Mylan subsequently entered into a settlement agreement in 2016 with CDC, which

included a worldwide non-exclusive license to the rights to the Patents-in-Suit and related foreign

patents.

       229.    Mylan has agreed to pay royalties for products sold or manufactured in Australia,

Canada, Germany, France, and the United Kingdom.

       230.    Additionally, TAD Pharma GmbH has taken a license to the patented technology

to sell a generic equivalent to Truvada for PrEP® in Germany.

       231.    Additionally, the Technology Transfer and Intellectual Property Office of NIAID

(NIAID/TTIPO), which has responsibility for patenting and licensing CDC inventions, is actively

negotiating with other companies seeking to sell a generic equivalent to Truvada® in Europe,

Australia, and/or Canada. NIAID/TTIPO also continues to seek license agreements with other

companies already selling generic equivalents to Truvada® in Europe, Australia, and/or Canada.

       232.    Gilead, however, has continued to sell Truvada for PrEP® worldwide without

paying any royalties to CDC.

       B.      Gilead’s Refusal to Take a License to CDC’s Patents

       233.    Even before issuance of the ’509 patent, the NIH Office of Technology Transfer

(NIH/OTT) and NIAID/TTIPO contacted Gilead officials regarding the patented technology.

       234.    In October 2014, NIH/OTT emailed both Dr. Jay Parrish, then a member of

Gilead’s Corporate Development Team, and Dr. Linda Higgins, Gilead’s Vice-President of

Biology, giving them notice of CDC’s patented technology.
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       235.    The notice stated that the CDC researchers had shown that “daily pre-exposure

prophylaxis (PrEP) with emtricitabine in combination with tenofovir disoproxil fumarate

(Truvada) significantly increases the level of protection against HIV transmission” and that “[t]he

CDC is pursuing U.S. and foreign patent protection for this technology.”106

       236.    NIH/OTT received no response to the emailed notice.

       237.    By October 2015, CDC patenting and licensing authority moved within NIH from

NIH/OTT to NIAID/TTIPO.

       238.    Beginning in March 2016, after issuance of the ’509 patent in 2015, NIAID/TTIPO

began to repeatedly invite Gilead to take a worldwide license to these patent rights (including

rights to all of the eventual Patents-in-Suit). The initial email communication included a copy of

the ’509 patent, a list of related patent applications (U.S. and foreign), and a standard license

application form.

       239.    Gilead officials did not immediately respond to this communication, and ultimately

directed NIAID/TTIPO to Gilead’s outside counsel at WilmerHale LLP in April 2016. After

communications with attorneys at that firm, NIAID/TTIPO received no response from Gilead.

       240.    Nonetheless, NIAID/TTIPO and CDC continued their efforts to resolve this dispute

without litigation. After NIAID/TTIPO reestablished contact with Gilead in January 2017, the

parties engaged in two confidential conferences later in 2017, and continued to correspond and

communicate in 2018, but were unable to resolve the dispute and enter into a license agreement.

       241.    Gilead has never denied that it infringes CDC’s patents. Nonetheless, by 2019, it

became clear that Gilead would not take a license to the Patents-in-Suit on any reasonable terms.




106
   Email from NIH/OTT to Dr. Parrish, Gilead Sciences, Inc. (Oct. 23, 2014, 11:39 AM)
(Exhibit 78).
                                              – 58 –
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Instead, as demonstrated by the testimony of Gilead’s CEO Daniel O’Day before the House

Oversight Committee in May 2019, Gilead has publicly and repeatedly stated its position that the

Patents-in-Suit are invalid.

          242.   In his testimony, Mr. O’Day stated that “[u]sing Truvada for PrEP was well known

in the scientific community, long before CDC claimed it as an invention,” but despite this position,

Gilead has “chosen not to challenge those patents because we value our collaborative relationship

with the agency.”107

          243.   In an about-face, just three months after Mr. O’Day’s statement, Gilead challenged

the validity of all four Patents-in-Suit by petitioning for inter partes review (IPR) at the PTO.

Gilead filed petitions on August 21, 2019, challenging the validity of the ’509 and ’333 patents,

and on August 23, 2019, challenging the validity of the ’191 and ’436 patents.108

          C.     CDC’s Efforts to License Generic Products in United States

          244.   Because of the Gilead-owned patents related to Truvada® and the compounds

contained therein, there is currently no generic equivalent to the Truvada® product in the United

States.

          245.   Nonetheless, the Government’s efforts to license the Patents-in-Suit and foreign

counterparts are continuing for manufacturers seeking to sell generic Truvada® products in the

United States.

          246.   As a result of its settlement with Gilead, Teva is expected to launch a generic

Truvada® product in 2020 in the United States. FDA approved Teva’s Abbreviated New Drug

Application (ANDA) for its generic equivalent to Truvada® in June 2017. While Teva has




107
      H. Comm. Hearing, supra note 51, at 14.
108
      The PTO proceedings are: IPR2019-01453, IPR2019-0454, IPR2019-01455, IPR2019-01456.
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communicated with NIAID/TTIPO, in 2017 and again in 2019, it has yet to take a license in the

Patents-in-Suit.

       247.     Several other companies have also filed ANDAs seeking to market their own

generic equivalent to Truvada® in the United States, including Aurobindo Pharma Ltd.

(Aurobindo), Mylan, Cipla Ltd., Hetero Labs, Ltd., Pharmacare Ltd., and Strides Arcolab Ltd.

       248.     Although none is currently selling a generic equivalent to the Truvada® product in

the United States, two of these companies (Mylan and Aurobindo) have received FDA approval

of their ANDAs. Only Mylan has obtained a license to the Patents-in-Suit and has agreed to pay

royalties for products sold or manufactured in the United States.

       D.       Gilead’s Intellectual Property Relating to CDC’s Inventive Regimens

       249.     While refusing to license or even acknowledge any Government intellectual

property rights in PrEP, Gilead has, at the same time, pursued its own intellectual property

protection in the PrEP market.

       250.     Gilead applied for and received a trademark in the United States for exclusive use

of the mark, TRUVADA FOR PREP. Gilead’s application for the mark was filed on January 6,

2017 with U.S. Ser. No. 87,292,084 and was registered on December 19, 2017 as U.S. Reg. No.

5,358,262.109




109
   TRUVADA FOR PREP, Registration No. 5,358,262,
http://tsdr.uspto.gov/documentviewer?caseId=sn87292084&docId=ORC20171203050400#docIn
dex=0&page=1 [https://perma.cc/5GAS-MQGT] (Exhibit 79). Gilead has also received a
registered trademark for Truvada for PrEP®’s logo. See EMTRICITABINE 200 MG /
TENOFOVIR DISOPROXIL FUMARATE 300 MG TABLETS FOR PREP PRE-EXPOSURE
PROPHYLAXIS, Registration No. 5,623,246,
http://tsdr.uspto.gov/documentviewer?caseId=sn87227314&docId=ORC20181118032302#docIn
dex=0&page=1 [https://perma.cc/F7U7-JP5V] (Exhibit 80).


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       251.    And in anticipation of Descovy®’s recent FDA approval for PrEP, Gilead has

already sought similar protection for the mark, DESCOVY FOR PREP. Gilead’s application was

filed on January 17, 2019 as U.S. Ser. No. 88,266,226. 110

       252.    All of Gilead’s U.S. trademark applications were filed well after the Government

provided Gilead with notice of the Patents-in-Suit and attempted to negotiate with Gilead for a

license.

VII.   GILEAD’S WILLFUL INFRINGEMENT OF CDC’S PATENTS

       A.      Inducement of PrEP Regimens Through Sales of Truvada®

       253.    Since 2012, when FDA approval was given for the use of Truvada® as PrEP, Gilead

has marketed and sold Truvada® for that purpose.

       254.    Truvada® has been Gilead’s top selling HIV medication, historically accounting for

around 25 percent of its HIV product sales and almost 12 percent of its total product sales.

       255.    Since the ’509 patent issued in mid-2015, Gilead has received approximately

$6,709,000,000 in revenue from sales of Truvada® in the United States. While the percentage of

Truvada® sales attributable to Truvada for PrEP® has fluctuated over time, Gilead reported in the

first quarter of 2019 that more than 60 percent of those taking Truvada® were taking it for PrEP.




110
   U.S. Trademark Application Serial No. 88,266,226 (filed Jan. 17, 2019) [hereinafter Descovy
Trademark Application],
http://tsdr.uspto.gov/documentviewer?caseId=sn88266226&docId=RFA20190121141120#docIn
dex=9&page=1 [https://perma.cc/N2VS-TGN8] (Exhibit 81). Gilead has also applied for
trademark registration of Descovy® for PrEP’s logo. See U.S. Trademark Application Serial No.
88,615,918 (filed 09/13/2019),
http://tsdr.uspto.gov/documentviewer?caseId=sn88615918&docId=RFA20190917080020#docIn
dex=1&page=1 [https://perma.cc/PG9W-TD97] (Exhibits 82).


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       256.    In amassing these sales of Truvada for PrEP®, Gilead has repeatedly instructed

health care providers and patients, in multiple ways, on administration of a Truvada for PrEP®

regimen.

       257.    According to its FDA-mandated labeling, Truvada® contains FTC and TDF in

several dosage combinations, including 200 mg FTC and 300 mg TDF.111

       258.    The labeling further states under “Indications and Usage” that Truvada® is

indicated in combination “with safer sex practices for pre-exposure prophylaxis (PrEP) to reduce

risk of sexually acquired HIV-1 in adults at high risk.” Under “Dosage and Administration,”

Gilead’s   FDA-approved prescribing information for pre-exposure prophylaxis                 states

“[r]ecommended dose in HIV-1 uninfected adults: One tablet (containing 200mg/300 mg of

emtricitabine and tenofovir disoproxil fumarate) once daily taken orally with or without food.”112

       259.    Moreover, Gilead has actively promoted Truvada for PrEP®, and has for example

made available a pamphlet entitled “TRUVADA for a Pre-Exposure Prophylaxis (PrEP)

indication” to train healthcare providers in the selection and treatment of patients.113

       260.    Gilead also instructs the prescribing healthcare provider and the patient to sign a

standard “Agreement Form” before initiating Truvada for PrEP®, and instructs prescribers to

review the Agreement Form at each visit with the patient. The prescriber affirms in the Agreement

that the HIV-negative status of the patient has been confirmed and that the prescriber has reviewed



111
    TRUVADA [package insert]. Foster City, CA: Gilead Sciences, Inc. (revised May 2018),
https://www.gilead.com/~/media/Files/pdfs/medicines/hiv/truvada/truvada_pi.pdf
[https://perma.cc/YWA9-282K] (Exhibit 83).
112
    Id.
113
    Gilead Sciences, Inc., TRUVADA for a Pre-exposure Prophylaxis (PrEP) Indication:
Training Guide for Healthcare Providers, THE AIDS INSTITUTE (2012),
https://www.theaidsinstitute.org/sites/default/files/attachments/Training_Guide_for_Healthcare_
Providers.pdf [https://perma.cc/3XW3-ESPS] (Exhibit 84).


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the Truvada for PrEP® Medication Guide with the patient, and will continue to monitor the patient

appropriately. The patient acknowledges being HIV-negative, agrees to repeat HIV testing every

three months, and acknowledges having read the Truvada for PrEP Medication Guide.114

       261.   As further evidence of its intent that Truvada® be administered as a PrEP regimen,

Gilead has obtained a trademark for Truvada for PrEP®.115 Gilead has also applied for trademark

protection of the phase “Step Up. PrEP Up.” for use in promoting public awareness and providing

medical information about the prevention HIV and AIDS.116 Further, Gilead has applied to

trademark blue, oblong tablets for “PrEP preparations for prevention and risk mitigation of

contracting HIV.”117

       B.     Gilead’s Clinical Trials to Obtain FDA Approval of Descovy® for PrEP

       262.   On information and belief, Gilead, in recent years, has conducted and continues to

conduct closely controlled clinical trials, including those needed to obtain FDA approval of

Descovy® for PrEP.




114
    Agreement Form for Initiating Emtricitabine/Tenofovir Disoproxil Fumarate 200 mg/300 mg
for HIV-1 Pre-exposure Prophylaxis (PrEP), GILEAD SCIENCES, INC. (May 2018),
https://services.gileadhiv.com/content/pdf/truvadapreprems/2018-05-15-TVD-
Prescriber%20Individual%20Agreement%20Form-Layout-SSS-PDF.pdf
[https://perma.cc/8LXS-7PWV] (Exhibit 85).
115
    TRUVADA FOR PREP, supra note 109. As used herein, Truvada for PrEP® is used to
generally describe the prescribed use of Truvada® as a PrEP regimen, regardless of whether the
product labeling or packaging itself includes the Truvada for PrEP® mark.
116
    U.S. Trademark Application Serial No. 88,504,395 (filed July 8, 2019) [hereinafter Step Up.
PrEP Up application],
http://tsdr.uspto.gov/documentviewer?caseId=sn88504395&docId=FTK20190711083818#docIn
dex=7&page=1 [https://perma.cc/7AFM-X92K] (Exhibit 86).
117
    U.S. Trademark Application Serial No. 87,794,113 (filed Feb. 12, 2018),
http://tsdr.uspto.gov/documentviewer?caseId=sn87794113&docId=RFA20180215074848#docIn
dex=23&page=1 [https://perma.cc/T2J3-4QQ6] (Exhibit 87) [hereinafter Blue, Oblong Tablet
Application].


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         263.   Such clinical trials include the DISCOVER trial,118 titled “A Phase 3, Randomized,

Double-blind Study to Evaluate the Safety and Efficacy of Emtricitabine and Tenofovir

Alafenamide (F/TAF) Fixed-Dose Combination Once Daily for Pre-Exposure Prophylaxis in Men

and Transgender Women Who Have Sex With Men and Are At Risk of HIV-1 Infection

(DISCOVER).” Gilead was the sole sponsor of this trial, ostensibly designed to obtain FDA

approval for Descovy® for PrEP. Gilead did not enlist any Government support or funding for the

trial.

         264.   As designed by Gilead, the DISCOVER trial consisted of three experimental arms:

         a)     an experimental arm where the subject is given FTC/TAF (Descovy®, 200/25 mg

tablet) for PrEP and an FTC/TDF placebo (Truvada for PrEP® placebo), each administered orally

once daily;

         b)     an experimental arm where the subject is given FTC/TDF (Truvada for PrEP®,

200/300 mg tablet) and an FTC/TAF placebo (Descovy® placebo), each administered orally once

daily;

         c)     an open-label extension experimental arm wherein, once all participants have been

on blinded treatment for at least 96 weeks, the study will be unblinded and participants will be

offered the option to continue on open-label FTC/TAF treatment for pre-exposure prophylaxis in

the open-label extension for 48 weeks, where the open label FTC/TAF (Descovy®, 200/25 mg

tablet) regimen is administered orally once daily.



118
   Gilead Sciences, Safety and Efficacy of Emtricitabine and Tenofovir Alafenamide (F/TAF)
Fixed-Dose Combination Once Daily for Pre-Exposure Prophylaxis in Men and Transgender
Women Who Have Sex with Men and Are at Risk of HIV-1 Infection (DISCOVER),
CLINICALTRIALS.GOV (July 22, 2016) [hereinafter DISCOVER Trial],
https://clinicaltrials.gov/ct2/show/NCT02842086 [https://perma.cc/4EUB-9P6D] (last updated
Aug. 19, 2019) (Exhibit 88).


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       265.    The DISCOVER trial tested “whether a combination of emtricitabine and tenofovir

alafenamide (F[TC]/TAF) is as safe and effective as Truvada® (emtricitabine and tenofovir

disoproxil fumarate, F[TC]/TDF) at reducing the risk of HIV infection when used as pre-exposure

prophylaxis (PrEP).”119 It enrolled more than 5,000 men and transgender women who were at risk

of acquiring HIV in order to analyzethe efficacy and safety of Descovy® and Truvada® for PrEP

in at-risk populations at 93 study locations in the United States.120

       266.    In March 2019, Gilead reported results from the trials and expressed its view that

Descovy® performed as well as Truvada®. According to John McHutchison, AO, MD, Chief

Scientific Officer and Head of Research and Development at Gilead, “[a]s the largest HIV

prevention trial conducted to date, the DISCOVER trial results clearly demonstrate Descovy for

PrEP™ achieved a clinical profile similar to the high efficacy of Truvada and a more favorable

bone and renal safety profile.”121

       267.    In April 2019, Gilead submitted a supplemental New Drug Application (sNDA) to

FDA for once-daily Descovy® for PrEP based on the DISCOVER trial data. FDA approved the

regimen on October 3, 2019.

       268.    Based on information and belief, the first two arms of the trial were completed by

April 2019, when the data were reported, but the third arm (the open label extension of Descovy®




119
    Statement on DISCOVER Study of F/TAF for PrEP, Gilead.com (Nov. 11, 2016),
https://www.gilead.com/news-and-press/company-statements/discover-study-of-ftaf-for-prep
[https://perma.cc/EPZ6-FLLX] (Exhibit 89).
120
    DISCOVER Trial, supra note 118.
121
    Gilead Announces Data Demonstrating Non-Inferiority of Once-Daily Descovy® vs. Once-
Daily Truvada® for Prevention of HIV Infection, Gilead.com, (Mar. 6, 2019),
https://www.gilead.com/news-and-press/press-room/press-releases/2019/3/gilead-announces-
data-demonstrating-noninferiority-of-oncedaily-descovy-vs-oncedaily-truvada-for-prevention-of-
hiv-infection [https://perma.cc/7TXX-C4H5] (Exhibit 90).
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for PrEP) is continuing, and is expected to continue until September 2021, despite the recent FDA

approval.

       C.      Inducement of PrEP Regimens Through Sales of Descovy®

       269.    Like Truvada®, Gilead is now marketing and selling Descovy® for PrEP after its

recent FDA approval.

       270.    As Gilead holds U.S. patents related to its development of Descovy® as a treatment

for HIV infections, it has not faced any generic competition in the United States.

       271.    Based on information and belief,Gilead is working to transition Truvada for PrEP®

users to Descovy® for PrEP, in view of the generic Truvada® competition from Teva in 2020 and

other generic manufacturers in the coming years.

       272.    Gilead has begun to instruct and will continue to instruct health care providers and

patients, in multiple ways, on administration of a Descovy® for PrEP regimen.

       273.    According to its FDA-mandated labeling, Descovy® is now indicated for “pre-

exposure prophylaxis (PrEP) to reduce the risk of HIV-1 infection from sexual acquisition,

excluding individuals at risk from receptive vaginal sex.” Under “Dosage and Administration,”

the recommended dosage for Descovy® for PrEP is “one tablet (containing 200 mg of FTC and 25

mg of TAF) once daily taken orally . . . in HIV-1 uninfected adults and adolescents[.]”122

       274.    As further evidence of its intent that Descovy® be administered as a PrEP regimen,

Gilead has sought a trademark for Descovy for PrEP,123 and has begun encouraging healthcare




122
    DESCOVY [package insert]. Foster City, CA: Gilead Sciences, Inc. (revised October 2019),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/208215s012lbl.pdf
[https://perma.cc/K8ZQ-68RF] (revised Oct. 2019) (Exhibit 91).
123
    Descovy Trademark Application, supra note 110.


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providers to “update [the] PrEP” of their patients “with Descovy®”, including those currently

prescribed Truvada for PrEP®.124

           D.     Willfulness and Deliberateness of Gilead’s Activities

           275.   As discussed, Gilead’s awareness of the Patents-in-Suit (and related patent

applications) arose as early as 2008, when it reviewed scientific publications discussing the filing

of a patent application relating to the use of Truvada for PrEP®. Moreover, Gilead recognized its

induced infringement at least by 2015, at the time the ’509 patent issued, when it was repeatedly

invited to discuss licensing rights to the Patents-in-Suit.

           276.   Gilead has not contended, including in testimony before Congress, that its

marketing and selling of Truvada for PrEP® and Descovy® for PrEP do not infringe the Patents-

in-Suit.

           277.   Gilead has only asserted that the Patents-in-Suit are not valid in repeated public

statements.

           278.   In making these statements, Gilead has failed to address the fact that CDC is widely

acknowledged as being the first to demonstrate that FTC/tenofovir prodrug regimens are highly

effective in preventing HIV infections and resulted in immediate changes to large human trials

related to Truvada for PrEP®. These trials directly led to FDA approval of that regimen. Gilead’s

validity assertions likewise ignore the wide acclaim and recognition of the innovative and

breakthrough CDC research leading to the Patents-in-Suit.

           279.   In accordance with the Government’s infringement claims, Gilead has also

provided Truvada® and Descovy® to health care providers and patients with instructions to use



124
   www.descovyhcp.com [https://perma.cc/3D3G-S5LZ] (Exhibit 92) (quoted language visible
on archived link); see also Step Up. PrEP Up. Application and Blue, Oblong Tablet Application,
supra notes 116, 117.
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those products in an infringing manner while being on notice of or willfully blind to the Patents-

in-Suit and its infringement thereof, since the ’509 patent issued in 2015. In short, Gilead knew,

or should have known, of the Patents-in-Suit and of its own infringing acts, or deliberately took

steps to avoid learning those facts.

                                   COUNT I:
               GILEAD’S WILLFUL INFRINGEMENT OF THE ’509 PATENT
              BASED ON TRUVADA FOR PREP® AND DESCOVY® FOR PREP

       280.    The Government realleges and incorporates by reference the allegations of

paragraphs 1 to 279 of this Complaint.

       281.    The ’509 patent issued on June 2, 2015. The Government has owned the ’509

patent since it was issued.

       282.    The administration of Truvada for PrEP® according to the prescribing information

infringes the ’509 Patent. For example, the claims of the ’509 Patent, including but not limited to

Claims 1 and 13, are infringed by the administration of Truvada for PrEP® according to the

prescribing information as shown in Exhibits 85, 86, and 87 attached hereto. Likewise, at least

Claim 13 of the ’509 patent is infringed by the administration of Descovy® for PrEP according to

the prescribing information as shown in Exhibit 88 attached hereto.

       283.    On information and belief, Gilead induces infringement pursuant to 35 U.S.C.

§ 271(b) of at least Claims 1 and 13 of the ’509 patent through its sales of Truvada for PrEP ®.

Gilead actively instructs doctors and patients to administer Truvada for PrEP®, including through

clinical trials, prescribing information, product labels, and other product literature. Further, Gilead

advertises and promotes Truvada® to the medical community and the general public for use in pre-

exposure prophylaxis. When used as instructed, doctors prescribe and patients use Truvada for

PrEP® to practice the patented method of the ’509 patent.



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       284.     On information and belief, Gilead also induces infringement pursuant to 35 U.S.C.

§ 271(b) of at least Claim 13 of the ’509 patent through its sales of Descovy® for PrEP. Gilead

actively instructs doctors and patients to administer Descovy® for PrEP, including through its

product labels. Further, Gilead advertises and promotes Descovy® to the medical community and

the general public for use in pre-exposure prophylaxis. When used as instructed, doctors prescribe

and patients use Descovy® for PrEP to practice the patented method of the ’509 patent.

       285.     On information and belief, Gilead specifically intends that its actions will result in

infringement of at least Claims 1 and 13 of the ’509 patent, or subjectively believes that its actions

will result in infringement of the ’509 patent, as set forth above. Gilead knew of the ’509 patent

and knew or should have known that use of Truvada for PrEP® and Descovy® for PrEP according

to the prescribing information infringes the ’509 patent no later than its issue date.

       286.     Gilead’s infringement of the ’509 patent has been and continues to be willful,

rendering this case exceptional under 35 U.S.C. § 285. Specifically, on information and belief,

when Gilead undertook the actions set forth above, there was a high likelihood that its actions

constituted infringement and Gilead knew or should have known of the existence of this high

likelihood. Gilead’s conduct was malicious, wanton, deliberate, consciously wrongful, flagrant,

and in bad faith. This is especially true because, as set forth herein, the Government has attempted

to negotiate in good faith an appropriate license.

       287.     Gilead’s actions in willfully infringing the Government’s patents are especially

worthy of punishment and may properly serve as grounds for a finding of exceptionality under 35

U.S.C. § 285.

       288.     By its actions, Gilead has injured the Government and is liable to the Government

for infringement of the ’509 patent pursuant to 35 U.S.C. § 271. The Government is entitled to



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recover from Gilead all damages that the Government has sustained as a result of Gilead’s

infringement of the ’509 patent, including without limitation no less than a reasonable royalty.

                              COUNT II:
      GILEAD’S WILLFUL INFRINGEMENT OF THE ’333 PATENT BASED ON
                          TRUVADA FOR PREP®

       289.    The Government realleges and incorporates by reference the allegations of

paragraphs 1 to 288 of this Complaint.

       290.    The ’333 patent issued on June 2, 2015. The Government has owned the ’333

patent since it was issued.

       291.    The administration of Truvada for PrEP® according to the prescribing information

infringes the ’333 Patent. For example, the claims of the ’333 Patent, including but not limited to

Claims 1 and 13, are infringed by the administration of Truvada for PrEP® according to the

prescribing information as shown in Exhibits 85, 86, and 87 attached hereto.

       292.    On information and belief, Gilead induces infringement pursuant to 35 U.S.C.

§ 271(b) of at least Claims 1 and 13 of the ’333 patent through its sales of Truvada for PrEP®.

Gilead actively instructs doctors and patients on how to administer Truvada for PrEP®, including

through clinical trials, prescribing information, product labels, advertising, and other product

literature. Further, Gilead advertises and promotes Truvada® to the medical community and the

general public for use in pre-exposure prophylaxis. When used as instructed, doctors prescribe

and patients use Truvada for PrEP® to practice the patented method of the ’333 patent.

       293.    On information and belief, Gilead specifically intends that its actions will result in

infringement of at least Claims 1 and 13 of the ’333 patent, or subjectively believes that its actions

will result in infringement of the ’333 patent, as set forth above. Gilead knew of the ’333 patent

and knew or should have known that use of Truvada for PrEP® according to the prescribing

information infringes the ’333 patent no later than its issue date.
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       294.     Gilead’s infringement of the ’333 patent has been and continues to be willful,

rendering this case exceptional under 35 U.S.C. § 285. Specifically, on information and belief,

when Gilead undertook the actions set forth above, there was a high likelihood that its actions

constituted infringement and Gilead knew or should have known of the existence of this high

likelihood. Gilead’s conduct was malicious, wanton, deliberate, consciously wrongful, flagrant,

and in bad faith. This is especially true because, as set forth herein, the Government has attempted

to negotiate in good faith an appropriate license.

       295.     Gilead’s actions in willfully infringing the Government’s patents are especially

worthy of punishment and may properly serve as grounds for a finding of exceptionality under 35

U.S.C. § 285.

       296.     By its actions, Gilead has injured the Government and is liable to the Government

for infringement of the ’333 patent pursuant to 35 U.S.C. § 271. The Government is entitled to

recover from Gilead all damages that the Government has sustained as a result of Gilead’s

infringement of the ’333 patent, including without limitation no less than a reasonable royalty.

                              COUNT III:
      GILEAD’S WILLFUL INFRINGEMENT OF THE ’191 PATENT BASED ON
                          TRUVADA FOR PREP®

       297.     The Government realleges and incorporates by reference the allegations of

paragraphs 1 to 296 of this Complaint.

       298.     The ’191 patent issued on June 2, 2015. The Government has owned the ’191

patent since it was issued.

       299.     The use of Truvada for PrEP® according to the prescribing information infringes

the ’191 patent. For example, the claims of the ’191 patent, including but not limited to Claims 1

and 13, are infringed by use of Truvada for PrEP® according to the prescribing information as

shown in Exhibits 85, 86, and 87 attached hereto.
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       300.     On information and belief, Gilead induces infringement pursuant to 35 U.S.C.

§ 271(b) of at least Claims 1 and 13 of the ’191 patent through its sales of Truvada for PrEP®.

Gilead actively instructs doctors and patients on how to administer Truvada for PrEP®, including

through clinical trials, prescribing information, product labels, advertising, and other product

literature. Further, Gilead advertises and promotes Truvada® to the medical community and the

general public for use in pre-exposure prophylaxis. When used as instructed, doctors prescribe

and patients use Truvada for PrEP® to practice the patented method of the ’191 patent.

       301.     On information and belief, Gilead specifically intends that its actions will result in

infringement of at least Claims 1 and 13 of the ’191 patent, or subjectively believes that its actions

will result in infringement of the ’191 patent, as set forth above. Gilead knew of the ’191 patent

and knew or should have known that use of Truvada for PrEP® according to the prescribing

information infringes the ’191 patent no later than its issue date.

       302.     Gilead’s infringement of the ’191 patent has been and continues to be willful,

rendering this case exceptional under 35 U.S.C. § 285. Specifically, on information and belief,

when Gilead undertook the actions set forth above, there was a high likelihood that its actions

constituted infringement and Gilead knew or should have known of the existence of this high

likelihood. Gilead’s conduct was malicious, wanton, deliberate, consciously wrongful, flagrant,

and in bad faith. This is especially true because, as set forth herein, the Government has attempted

to negotiate in good faith an appropriate license.

       303.     Gilead’s actions in willfully infringing the Government’s patents are especially

worthy of punishment and may properly serve as grounds for a finding of exceptionality under 35

U.S.C. § 285.




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       304.    By its actions, Gilead has injured the Government and is liable to the Government

for infringement of the ’191 patent pursuant to 35 U.S.C. § 271. The Government is entitled to

recover from Gilead all damages that the Government has sustained as a result of Gilead’s

infringement of the ’191 patent, including without limitation no less than a reasonable royalty.

                              COUNT IV:
      GILEAD’S WILLFUL INFRINGEMENT OF THE ’423 PATENT BASED ON
              TRUVADA FOR PREP® AND DESCOVY® FOR PREP

       305.    The Government realleges and incorporates by reference the allegations of

paragraphs 1 to 304 of this Complaint.

       306.    The ’423 patent issued on June 2, 2015. The Government has owned the ’423

patent since it was issued.

       307.    The use of Truvada for PrEP® and Descovy® for PrEP according to the prescribing

information for each infringes the ’423 Patent. For example, the claims of the ’423 Patent,

including but not limited to Claims 1 and 12, are infringed by administration of Truvada for PrEP®

according to the prescribing information as shown in Exhibits 85, 86, and 87 attached hereto.

Likewise, at least Claim 12 of the ’423 patent is infringed by the administration of Descovy® for

PrEP as shown in Exhibit 88 attached hereto.

       308.    On information and belief, Gilead induces infringement pursuant to 35 U.S.C.

§ 271(b) of at least Claims 1 and 12 of the ’423 Patent through its sales of Truvada for PrEP®.

Gilead actively instructs doctors and patients on how to administer Truvada for PrEP®, including

through clinical trials, prescribing information, product labels, advertising, and other product

literature. Further, Gilead advertises and promotes Truvada® to the medical community and the

general public for use in pre-exposure prophylaxis. When used as instructed, doctors prescribe

and patients use Truvada for PrEP® to practice the patented method of the ’423 patent.



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       309.     On information and belief, Gilead also induces infringement pursuant to 35 U.S.C.

§ 271(b) of at least Claims 1 and 12 of the ’423 patent through its sales of Descovy® for PrEP.

Gilead actively instructs doctors and patients to administer Descovy® for PrEP, including through

clinical trials and its product labels. Further, Gilead advertises and promotes Descovy® to the

medical community and the general public for use in pre-exposure prophylaxis. When used as

instructed, doctors prescribe and patients use Descovy® for PrEP to practice the patented method

of the ’423 patent.

       310.     On information and belief, Gilead specifically intends that its actions will result in

infringement of at least Claims 1 and 12 of the ’423 patent, or subjectively believes that its actions

will result in infringement of the ’423 patent, as set forth above. Gilead knew of the ’423 patent

and knew or should have known that use of Truvada for PrEP® and Descovy® for PrEP according

to the prescribing information infringes the ’423 patent no later than its issue date.

       311.     Gilead’s infringement of the ’423 patent has been and continues to be willful, and

Gilead’s conduct renders this case exceptional under 35 U.S.C. § 285. Specifically, on information

and belief, when Gilead undertook the actions set forth above, there was a high likelihood that its

actions constituted infringement and Gilead knew or should have known of the existence of this

high likelihood. Gilead’s conduct was malicious, wanton, deliberate, consciously wrongful,

flagrant, and in bad faith. This is especially true because, as set forth herein, the Government has

attempted to negotiate in good faith an appropriate license.

       312.     Gilead’s actions in willfully infringing the Government’s patents are especially

worthy of punishment and may properly serve as grounds for a finding of exceptionality under 35

U.S.C. § 285.




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        313.    By its actions, Gilead has injured the Government and is liable to the Government

for infringement of the ’423 patent pursuant to 35 U.S.C. § 271. The Government is entitled to

recover from Gilead all damages that the Government has sustained as a result of Gilead’s

infringement of the ’423 patent, including without limitation no less than a reasonable royalty.

                                     PRAYER FOR RELIEF

WHEREFORE, the United States prays for a judgment in its favor and against Gilead and

respectfully requests the following relief:

        A.      A judgment declaring that Gilead has infringed, either literally or under the doctrine

of equivalents, one or more claims of the Patents-in-Suit.

        B.      A finding that Gilead’s infringement of one or more claims of the Patents-in-Suit

has been willful and a judgment for enhanced damages;

        C.      A judgment awarding the Government damages adequate to compensate for

Gilead’s infringement;

        D.      Pre-judgment and post-judgment interest to the full extent allowed under the law,

as well as its costs;

        E.       An ongoing royalty for continued infringement pursuant to 35 U.S.C. § 283;

        F.      Attorneys’ fees in this action as an exceptional case pursuant to 35 U.S.C. § 285;

        G.      Costs and expenses in this action; and

        H.      Such other and further relief as the Court deems just and proper.




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                                   Respectfully submitted,

Dated: November 6, 2019

                                   JOSEPH H. HUNT
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